Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 1 of 81 Page ID #:449

                                                                               1


                            UNITED STATES DISTRICT COURT

                           CENTRAL DISTRICT OF CALIFORNIA

                                          ---

               HONORABLE FERNANDO L. AENLLE-ROCHA, JUDGE PRESIDING

                                          ---




         PAVEL FUKS,                     )
                                         )
                                         )
                                         )
                          Plaintiff,     )
                                         ) CV NO. 19-1212
                   VS                    )
                                         )
         YURI VANETIK,                   )
                                         )
                                         )
                           Defendant.    )
         ________________________________)



                       Reporter's Transcript of Proceedings
                              COURT TRIAL - DAY ONE
                             Los Angeles, California
                           TUESDAY, SEPTEMBER 21, 2021
                                     1:30 P.M.




                          ANNE KIELWASSER, CRR, RPR, CSR
                          Federal Official Court Reporter
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                             anne.kielwasser@gmail.com
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 2 of 81 Page ID #:450

                                                                               2


   1                            A P P E A R A N C E S

   2

   3     ON BEHALF OF THE PLAINTIFF:

   4
         JOHN W. LOMAS, JR.
   5     Eversheds Sutherland US LLP
         700 Sixth Street NW
   6     Suite 700
         Washington, document 20001
   7     TEL: 202-220-8049
         Fax: 202-637-3593
   8     E-mail: Johnlomas@eversheds-sutherland.com

   9
         Joseph R. Ashby
  10     Ashby Law Firm P.C.
         1055 W 7th Sgtreet
  11     33rd Floor
         Los Angeles, CA 90017
  12

  13

  14     ON BEHALF OF THE DEFENDANT:

  15     John M Hamilton
         John M Hamilton Law Offices
  16     5757 West Century Boulevard
         Suite 700
  17     Los Angeles, CA 90045
         TEL: 424-419-4028
  18     E-mail: J.m.hamilton@earthlink.net

  19

  20

  21

  22

  23

  24

  25
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 3 of 81 Page ID #:451

                                                                               3


   1                                     INDEX

   2     WITNESS:                                                   PAGE:

   3
          OPENING STATEMENTS BY PLAINTIFF                                 6
   4      OPENING STATEMENT BY DEFENSE                                    7
          WITNESS, PAVLO (PAVEL) FUKS, SWORN                             13
   5      DIRECT EXAMINATION BY MR. LOMAS                                13
          CROSS-EXAMINATION BY MR. HAMILTON                              59
   6
                                         *****
   7
                                        EXHIBITS
   8
          Exhibit No. 1 received in evidence                        29
   9      Exhibit Nos. 2 and 3 received in evidence                 38

  10
                                         ******
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 4 of 81 Page ID #:452

                                                                                      4


            1   TUESDAY, SEPTEMBER 21, 2021                               1:30 P.M.

            2                                   ~ ~ ~

            3                         COURT TRIAL - DAY ONE

13:37:48    4                                   ~ ~ ~

13:42:29    5                 COURT CLERK:    Item No. 1.   CV 19-1212.    Pavel Fuks

13:42:38    6   versus Yuri Vanetik.

13:42:40    7                      Counsel, please state your appearances for

13:42:43    8   the record.

13:42:43    9                 MR. LOMAS:   Good afternoon, Your Honor.      John

13:42:47   10   Lomas from Eversheds Sutherland, and with me is Joseph Ashby

13:42:54   11   from Ashby Law Firm on behalf of the plaintiff.

13:42:57   12                 MR. HAMILTON:    Good afternoon, Your Honor.     John

13:42:59   13   Hamilton for defendant Yuri Vanetik, and Mr. Vanetik is

13:43:03   14   seated in the courtroom today.

13:43:05   15                 THE COURT:   All right, good afternoon to everyone.

13:43:07   16   Welcome.

13:43:08   17                      We are set to begin the bench trial in the

13:43:12   18   matter.    Parties ready to proceed?     Yes?    On both sides?

13:43:21   19   Okay.

13:43:21   20                 ALL IN UNISON:   (Nodding head affirmatively.)

13:43:23   21                 THE COURT:   All right, just give me a moment to

13:43:25   22   set up here.

13:43:28   23                      All right, anything we need to address before

13:43:31   24   we start trial?

13:43:34   25                 MR. HAMILTON:    No, Your Honor.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 5 of 81 Page ID #:453

                                                                                      5


13:43:38    1                MR. LOMAS:   Your Honor -- well, no, actually,

13:43:41    2   sorry.   It's nothing.

13:43:43    3                THE COURT:   All right, the Court has ruled on the

13:43:45    4   issue of remote testimony.      Hopefully you've each received

13:43:50    5   the Court's ruling with respect to that.        Thank you for

13:43:53    6   filing the papers you filed yesterday.        And otherwise I don't

13:43:57    7   have any questions.

13:44:02    8                     Are there any exhibits you'll be using that

13:44:06    9   have been provided to the Court?

13:44:08   10                     Ah, I see them here.      Thank you.    Great.   All

13:44:11   11   right, well, if everybody is ready, then let's get started.

13:44:15   12                     Plaintiff, if you'd like to make an opening

13:44:18   13   statement.

13:44:18   14                     And I'll just make my practice clear.         During

13:44:21   15   this ongoing pandemic, the courthouse and I am complying with

13:44:27   16   CDC guidelines.    So, unfortunately it requires everyone,

13:44:31   17   regardless of vaccination status, to continue to wear masks

13:44:36   18   in indoor settings.     I make an exception for the times when

13:44:40   19   you are addressing the Court or if a witness were to take the

13:44:44   20   stand and the witness and/or the lawyer may remove masks if

13:44:47   21   fully vaccinated, okay?      Otherwise they have to continue to

13:44:51   22   wear the masks.

13:44:52   23                     All right, so, let me hear from you, Mr.

13:44:55   24   Lomas, or whoever is going to making an opening statement if

13:44:55   25   you'd like to make one .
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 6 of 81 Page ID #:454

                                                                                      6


13:45:03    1                     (OPENING STATEMENTS BY PLAINTIFF)

13:45:06    2                MR. LOMAS:   Thank you, Your Honor.

13:45:07    3                     I'll be brief as this is a simple and

13:45:11    4   straightforward case.

13:45:12    5                     Plaintiff, Pavel Fuks, entered into an

13:45:14    6   agreement with defendant, Yuri Vanetik, to pay $200,000 for a

13:45:21    7   VIP presidential inauguration package for January 2017

13:45:25    8   presidential inauguration.

13:45:26    9                     Mr. Fuks paid the $200,000 to Mr. Vanetik in

13:45:31   10   accordance with the instructions that Mr. Vanetik provided.

13:45:33   11                     Mr. Vanetik failed to provide the promised

13:45:36   12   package, the promised tickets, the promised access to the

13:45:41   13   events and then failed to refund Mr. Fuks the $200,000 he

13:45:47   14   paid for this access.     You will hear --

13:45:50   15                     And given that he didn't receive the package

13:45:53   16   he provided, Mr. Fuks is seeking the return of his money.

13:45:59   17                     And you will hear today from Mr. Fuks by

13:46:02   18   video conference, and he will testify today regarding this

13:46:05   19   agreement.   He will testify about the representations that

13:46:07   20   the defendant made about the package, the events, the access

13:46:11   21   that he would be given, the tickets that he would be given.

13:46:15   22                     You will hear him testify about the funds --

13:46:20   23   the price for the package and how he wanted to receive those

13:46:23   24   funds and how Mr. Fuks paid for those funds.         And then you

13:46:28   25   will hear Mr. Fuks testify about the fact that he did not
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 7 of 81 Page ID #:455

                                                                                      7


13:46:31    1   receive any of the promised tickets, promised access to

13:46:35    2   events.

13:46:35    3                     Mr. Fuks will also testify that he had asked

13:46:40    4   for a refund of the money, and that while Mr. Vanetik

13:46:46    5   initially acknowledged that Mr. Fuks did not receive what he

13:46:49    6   had paid for, did not receive the value that he was paying

13:46:52    7   for, ultimately, Mr. Vanetik refused to refund the money.

13:46:58    8                     And it's that simple of a case, Your Honor.

13:47:00    9   Thank you.

13:47:01   10                THE COURT:   All right.    Counsel for Mr. Vanetik,

13:47:05   11   would you like to make an opening statement now or reserve?

13:47:12   12                MR. HAMILTON:    Now, Your Honor, please.

13:47:14   13                THE COURT:   All right, you may.

13:47:15   14                MR. HAMILTON:    Thank you.

13:47:17   15                     (OPENING STATEMENT BY DEFENSE)

13:47:20   16                MR. HAMILTON:    Your Honor, this case is not about

13:47:21   17   an inaugural program.     This case is about business that Mr.

13:47:30   18   Vanetik was trying to collect from Mr. Fuks, said he was owed

13:47:33   19   for services performed under consulting contract.

13:47:37   20                     Mr. Fuks owed a debt based on a contract, and

13:47:41   21   you'll see the contract in evidence that he entered with a

13:47:44   22   company called Odyssey Management for consulting services

13:47:48   23   which were completely unrelated to the inauguration.

13:47:52   24                     You will hear from Odyssey's principals about

13:47:56   25   the work that was performed and their arrangements with
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 8 of 81 Page ID #:456

                                                                                      8


13:47:59    1   Mr. Fuks.   You'll see the invoice, it's an exhibit, Your

13:48:03    2   Honor, from Odyssey Management and a partial payment in the

13:48:07    3   sum of $200,000 from an offshore entity called BEM Global,

13:48:07    4   B-E-M Global.

13:48:16    5                     There is no evidence that the wire from BEM

13:48:21    6   Global ever went to Mr. Vanetik; in fact, it went to Odyssey

13:48:26    7   Management.    Yet BEM Global is not a plaintiff in the case

13:48:29    8   action and Odyssey Management which received that actual wire

13:48:33    9   is not a defendant.

13:48:35   10                     You will also see an exhibit which is the

13:48:41   11   consulting agreement between Odyssey and Mr. Fuks and what

13:48:44   12   the work was for.     As I said, the contract had nothing to do

13:48:47   13   with the inauguration; it had things to do with human rights

13:48:51   14   in the Ukraine.    The only written contracts you'll see in

13:48:57   15   this case is between Odyssey Management and Mr. Fuks, and the

13:49:00   16   only payment you'll see in this case is a $200,000 wire from

13:49:08   17   BEM Global to Odyssey Management.

13:49:11   18                     And, in fact, when the invoice comes in and

13:49:14   19   plaintiff -- it's one of plaintiff's exhibits, you can see on

13:49:19   20   the invoice the work described for what the invoice was paid

13:49:23   21   for, and it was for consulting work, and that matches the

13:49:27   22   contract that Mr. Fuks signed with Odyssey.

13:49:33   23                     You will also hear evidence during the trial

13:49:36   24   about Mr. Vanetik.     Mr. Vanetik is an attorney.      He's a sworn

13:49:40   25   peace officers, he's a reserve sergeant in the San Bernardino
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 9 of 81 Page ID #:457

                                                                                      9


13:49:46    1   Sheriff's Department, and Mr. Vanetik was appointed by

13:49:49    2   Governor Schwarzenegger as a California Lottery Commissioner

13:49:53    3   and Criminal Justice Commissioner.

13:49:56    4                     The facts in this case --

13:50:00    5                     And it is a pretty simple case, I do agree

13:50:02    6   with counsel.    Mr. Vanetik did not know Mr. Fuks very well.

13:50:09    7   He was introduced to Mr. Fuks through a mayor in the major

13:50:16    8   city of the Ukraine.     The mayor's name is Gennady Kernes, and

13:50:26    9   Mr. Fuks was presented as the mayor's friend and would be

13:50:27   10   handling logistics when it came to business dealings.

13:50:33   11                     The facts will show that Mr. Vanetik and Mr.

13:50:37   12   Fuks met in person on two occasions.        Once was on March 28 in

13:50:42   13   Rome, Italy, and that was regarding the consulting agreement

13:50:47   14   with Odyssey, and subsequently in Washington on January 20th

13:50:54   15   when Mr. Fuks came with a client for the inauguration, which

13:51:00   16   he stayed approximately one day.

13:51:04   17                     The evidence will show that in March 2016 Mr.

13:51:10   18   Vanetik met the mayor of -- Kernes, which is the Ukrainian

13:51:20   19   mayor I was speaking about earlier, and he needed Mr.

13:51:22   20   Vanetik's help.    He was the subject of numerous criminal

13:51:25   21   investigations which were active in the Ukraine and believed

13:51:31   22   that he had enemies that had tried to assassinate him, and he

13:51:38   23   was wheelchair-bound at that time.

13:51:39   24                     Mr. Vanetik agreed to help, and Mr. Fuks

13:51:43   25   acted as the responsible party and took on financial
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 10 of 81 Page ID #:458

                                                                                     10


13:51:47    1   obligations for the mayor.       But the Odyssey contract you'll

13:51:55    2   see was never actually paid right away when the work was

13:52:00    3   performed.

13:52:01    4                      When Mr. Vanetik inquired about collecting

13:52:05    5   the debt, his calls were ignored by both Mr. Fuks and the

13:52:15    6   mayor, and Mr. Vanetik will testify that he learned that Mr.

13:52:17    7   Fuks was the kind that would just ignore you and would not

13:52:22    8   pay his bills.

13:52:23    9                      Ultimately, Odyssey stopped work because they

13:52:28   10   weren't being paid, and Mr. Fuks and the mayor stopped

13:52:31   11   returning calls at anyone at Odyssey.

13:52:34   12                      The evidence will show that in late November

13:52:37   13   2016, Mr. Fuks resurfaced and touched base with Mr. Vanetik.

13:52:48   14   He asked Mr. Vanetik whether he could bring a couple of VIP

13:52:56   15   from the Ukraine.     Those individuals were named Vitaliy and

           16   Svitlana Khomutynnik to the President Trump's inauguration

           17   and asked if Yuri could arrange a VIP program.

           18                      Evidence will show that Mr. Vanetik told Mr.

           19   Fuks that he could arrange a private program through his

           20   contacts in the PR and lobby world, but Mr. Fuks first needed

           21   to pay the Odyssey bill.

           22                      Mr. Fuks agreed and offered to transfer

13:53:36   23   $200,000 to start paying the debt which was owed to Odyssey.

13:53:39   24   That was the payment I discussed earlier from the mysterious

13:53:46   25   company called BEM Global.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 11 of 81 Page ID #:459

                                                                                     11


13:53:49    1                      Mr. Fuks also told Mr. Vanetik that the Mayor

13:53:54    2   Kernes was no longer interested in the human rights project

13:54:00    3   that Odyssey had been working.

13:54:01    4                      The evidence will show that Mr. Fuks was

13:54:06    5   given and accepted an inaugural -- a program for the

13:54:15    6   inaugural week that Mr. Vanetik, a company called Meadow Wood

13:54:19    7   PR and a company called Keelen Group prepared for that for

13:54:24    8   him and the Khomutynniks.

13:54:27    9                      Mr. Vanetik was not associated with Meadow

13:54:32   10   Wood or the Keelen Group but had a business connection with

13:54:36   11   them.    Mr. Fuks accepted the program and arrived with his --

13:54:41   12   with his guests for only one day.

13:54:46   13                      The program was supposed to be for five days.

13:54:49   14   He arrived for one.     He attended various events during that

13:54:55   15   one day with his host, and then he left the next day with

13:55:03   16   his -- with the Khomutynniks on a private jet to go skiing in

13:55:10   17   Aspen.

13:55:19   18                      The Court will see through the testimony that

13:55:21   19   Mr. Vanetik never contracted to deliver a specific inaugural

13:55:24   20   program but merely wanted to encourage Mr. Fuks to pay his

13:55:29   21   debt to Odyssey.     Moreover, the evidence will show that Mr.

13:55:34   22   Vanetik and Mr. Fuks have never entered in any contracts or

13:55:43   23   agreements.

13:55:43   24                      The Court will learn that Mr. Fuks never gave

13:55:46   25   Mr. Vanetik any money for the inauguration and that Mr.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 12 of 81 Page ID #:460

                                                                                     12


13:55:50    1   Vanetik spent his own money and time for the inauguration.

13:55:57    2                      To this end we'll show that Mr. Fuks has no

13:56:01    3   evidence or foundation that my client breached any of the

13:56:05    4   causes of action in the complaint.

13:56:09    5                      Finally, it was mentioned in the complaint,

13:56:11    6   there is no evidence that Mr. Vanetik played any role in

13:56:15    7   having Mr. Fuks's visa rejected by the U.S.

13:56:20    8                      Thank you, Your Honor.

13:56:22    9                THE COURT:    All right, thank you, Counsel.

13:56:24   10                      Plaintiff, you may call your first witness.

13:56:44   11                MR. LOMAS:    Your Honor, plaintiff calls Mr. Pavel

13:56:51   12   Fuks, who will be testifying remotely by video conference

13:56:51   13   through the interpreter.

13:56:53   14                      May the interpreter take the seat in the

13:56:56   15   witness chair?

13:56:57   16                THE COURT:    Yes.   All right, so, the interpreter

13:56:59   17   is in the courtroom, and he'll be taking the witness stand

13:57:04   18   which has sound amplification so that he can clearly be heard

13:57:07   19   in the courtroom.

13:57:20   20                      Mr. Fuks, as soon as he's ready.

13:57:25   21                      Well, if I could have the interpreter's

13:57:28   22   appearance on the record when ready.

13:57:38   23                THE INTERPRETER:     Certified Russian Interpreter,

13:57:42   24   Leonid Vishmid, L-E-O-N-I-D, V-I-S-H-M-I-D.         My California

13:57:49   25   Certification number is 301247.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 13 of 81 Page ID #:461

                                                                                     13


13:57:52    1                THE COURT:    Thank you, sir.

13:58:00    2                      All right, and then we'll need to have Mr.

13:58:03    3   Fuks sworn in.

13:58:10    4                COURT CLERK:    Please raise your right hand.

13:58:13    5                      Do you swear or affirm that the testimony

13:58:13    6   you're about to give in the case now before this Court will

13:58:13    7   be the truth, the whole truth and nothing but the truth, so

13:58:34    8   help you God?

13:58:38    9                THE PLAINTIFF:    Only the truth.     I swear.

13:58:40   10                COURT CLERK:    Please state and spell your full

13:58:43   11   name.

13:58:47   12                THE PLAINTIFF:    Pavlo Fuks.     P-A-V-L-O, F-U-K-S.

13:58:53   13                COURT CLERK:    Thank you.

13:58:56   14                THE COURT:    All right, Counsel, you may inquire.

13:58:56   15                   WITNESS, PAVLO (PAVEL) FUKS, SWORN

13:58:59   16           (TESTIMONY GIVEN THROUGH THE RUSSIAN INTERPRETER)

13:58:59   17                             DIRECT EXAMINATION

13:59:00   18   BY MR. LOMAS:

13:59:05   19   Q.       Good evening, Mr. Fuks.

13:59:08   20   A.       Good evening.

13:59:09   21   Q.       We've seen your name also spelled P-A-V-E-L.         Is that

13:59:14   22   another spelling for your name?

13:59:20   23   A.       That's how it's spelled in Russian.       In Ukrainian it's

13:59:30   24   Pavlo.

13:59:31   25   Q.       Mr. Fuks, where do you presently reside?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 14 of 81 Page ID #:462

                                                                                     14


13:59:36    1   A.      Ukraine and Kiev.

13:59:44    2   Q.      Are you in Kiev now?

13:59:46    3   A.      Yes.

13:59:51    4   Q.      Where in Kiev are you at present?

13:59:54    5   A.      At my home.

13:59:56    6   Q.      Is there anybody in the room with you where you are

14:00:00    7   testifying from?

14:00:10    8   A.      No.

14:00:10    9   Q.      What time is it, local time, where you are testifying?

14:00:21   10   A.      Zero zero zero zero.

14:00:23   11   Q.      Mr. Fuks, are you a citizen of Ukraine?

14:00:27   12   A.      Yes.

14:00:27   13   Q.      Are you a citizen of any other country?

14:00:33   14   A.      No.

14:00:35   15   Q.      Where were you born?

14:00:37   16   A.      Ukraine City of Kharkiv.

14:00:45   17   Q.      Were you also raised in Kharkiv?

14:00:50   18   A.      Yes.

14:00:51   19   Q.      Have you ever met the defendant, Yuri Vanetik?

14:01:00   20   A.      Yes, I have met him.

14:01:02   21   Q.      When did you first meet Mr. Vanetik?

14:01:17   22   A.      In 2016.    It might have been either spring or summer,

14:01:26   23   I think.

14:01:27   24   Q.      How did you come to meet Mr. Vanetik?

14:01:37   25   A.      I was introduced by my friend.       Unfortunately he's
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 15 of 81 Page ID #:463

                                                                                     15


14:01:47    1   deceased at this point.      Mayor of Kharkiv --

14:01:51    2                 THE INTERPRETER:    I'm sorry, I didn't get the last

14:01:52    3   name.

14:01:52    4                 THE PLAINTIFF:   Gennady Kerness.     G-E-N-N-A-D-Y,

14:02:24    5   K-E-R-N-E-S-S.

14:02:25    6                 THE COURT:   Can we also get a spelling of the city

14:02:27    7   that he --

14:02:29    8                 THE PLAINTIFF:   K-H-A-R-K-O-V.

14:02:34    9                 THE COURT:   Thank you.

14:02:38   10   BY MR. LOMAS:

14:02:38   11   Q.      Okay, I've also seen it with I-V, but K-H-A-R-I-V.

14:02:46   12                 THE INTERPRETER:    Yes, Kharkiv, that would be the

14:02:48   13   proper Ukrainian word.

14:02:49   14   BY MR. LOMAS:

14:02:49   15   Q.      Sorry.   Mr. Fuks, why did Mr. -- why did your friend,

14:02:54   16   the mayor, introduce you to Mr. Vanetik?

14:03:05   17   A.      I was asked to fly to Rome and meet Vanetik who was

14:03:33   18   supposed to help with promoting the City of Kharkiv.

14:03:36   19   Q.      Did the mayor retain Mr. Vanetik to promote the City

14:03:42   20   of Kharkiv?

14:03:50   21   A.      That is not known to me.

14:03:52   22   Q.      Did the mayor retain Mr. Vanetik for any other

14:03:57   23   activity?

14:04:07   24   A.      That is also not known to me.       I don't believe so.

14:04:11   25   Q.      Did the City of Kharkiv retain Mr. Vanetik for any
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 16 of 81 Page ID #:464

                                                                                     16


14:04:18    1   activity?

14:04:27    2   A.        That's not known to me.

14:04:29    3   Q.        Has Mr. Vanetik done any work for the mayor?

14:04:40    4   A.        It's not known to me.

14:04:42    5   Q.        And do you know if the --

14:04:45    6                         Excuse me.   Do you know if Mr. Vanetik did

14:04:47    7   any work for the City of Kharkiv?

14:05:03    8   A.        That is not known to me.

14:05:04    9   Q.        After that first meeting you had with Mr. Vanetik, did

14:05:08   10   you communicate with him at all?

14:05:27   11   A.        Yes.    He asked me to connect him and his assistant, I

14:05:36   12   believe the name is Olga, and so I did assist him to some

14:05:41   13   degree.

14:05:41   14   Q.        Okay.   How did you communicate with Mr. Vanetik?

14:05:53   15   A.        We communicated via the WhatsApp Messenger.

14:06:00   16   Q.        And what is WhatsApp Messenger?

14:06:12   17   A.        It's a mobile application.     It's very convenient for

14:06:16   18   use and secure also.

14:06:17   19   Q.        You've mentioned it's a mobile application.       Does that

14:06:20   20   means it runs on your phone?

14:06:23   21   A.        Yes, yes.

14:06:24   22   Q.        Does WhatsApp allow you to save the text messages that

14:06:28   23   you exchange with someone using that app?

14:06:39   24   A.        Yes, it does, of course.

14:06:42   25   Q.        Did you save the text messages that you exchanged with
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 17 of 81 Page ID #:465

                                                                                     17


14:06:45    1   Mr. Vanetik?

14:06:52    2   A.      Yes, of course.

14:06:54    3   Q.      Does WhatsApp allow you to export the saved text

14:07:00    4   messages into a data file?

14:07:11    5   A.      Yes, of course.     Yes, there is a function that can do

14:07:18    6   that.

14:07:18    7   Q.      Did you export your text messages -- or -- excuse me.

14:07:25    8   Strike that.

14:07:26    9                      Did you export your WhatsApp messages with

14:07:29   10   Mr. Vanetik into a data file?

14:07:32   11   A.      Yes.

14:07:38   12   Q.      Did you change any of the WhatsApp messages you had

14:07:43   13   with Mr. Vanetik before exporting them into a data file?

14:07:49   14   A.      No.

14:07:56   15   Q.      Did you delete any of those messages with Mr. Vanetik

14:07:59   16   before exporting them into a data file?

14:08:04   17   A.      No.

14:08:08   18   Q.      Did you add any messages outside of --

14:08:14   19                      Did you add any new messages into the data

14:08:17   20   file before -- excuse me.

14:08:19   21                      Did you add any new messages with Mr. Vanetik

14:08:22   22   before exporting them into a data file?

14:08:31   23   A.      No.

14:08:33   24   Q.      Did you provide this data file to your attorneys in

14:08:46   25   this case?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 18 of 81 Page ID #:466

                                                                                      18


14:08:46    1   A.      Yes.

14:08:47    2   Q.      Did you change any of the data in the file before

14:08:51    3   providing it to your attorneys?

14:09:00    4   A.      No.

14:09:01    5   Q.      Did you have anyone else change any data in the file

14:09:05    6   before providing it to your attorneys?

14:09:16    7   A.      That's not known to me.

14:09:18    8   Q.      Did you -- okay.     Let me just restate that question

14:09:23    9   then.

14:09:23   10                      Did you ask anyone to change any data in the

14:09:26   11   file before you provided it to your attorneys?

14:09:38   12   A.      No.

14:09:39   13   Q.      Did you delete any of the data in the file before

14:09:43   14   providing it to your attorneys in this case?

14:09:49   15   A.      No.

14:09:50   16   Q.      Did you add any new messages into the data file before

14:09:55   17   providing it to your attorneys in this case?

14:10:00   18   A.      No.

14:10:00   19   Q.      Okay, I am going to show on a screen here so hopefully

14:10:08   20   this will work, what's been marked as Exhibit 1, Plaintiff's

14:10:19   21   Exhibit 1.

14:10:20   22                      Mr. Fuks, you are being shown on the screen a

14:10:29   23   document that's marked as Plaintiff Exhibit 1.          Can you see

14:10:31   24   that document?

14:10:41   25   A.      I'm not able to enlarge it either.        I need to be able
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 19 of 81 Page ID #:467

                                                                                     19


14:10:47    1   enlarge it.

14:10:49    2   Q.       Okay.    Sure, I can enlarge it here.     Can you see

14:10:56    3   better now?

14:10:58    4   A.       Just a little bit bigger.      Yes, now I can see it.

14:11:11    5   Yes.

14:11:13    6   Q.       Mr. Fuks, do you see any other windows other than just

14:11:19    7   the exhibit on your screen at the moment?

14:11:28    8   A.       Yes, I can see the translator.

14:11:32    9   Q.       Might I ask, is there a way here to just show the

14:11:37   10   exhibit so we can make sure it's maximized on the screen?           Or

14:11:43   11   does he need to do that on his end?        I think that might be

14:11:47   12   from the system here?

14:11:49   13                   COURT CLERK:   The option is the --

14:11:50   14                        One moment, please.

14:12:02   15                   THE COURT:   I take it he doesn't have a physical

14:12:04   16   set of exhibits with him?

14:12:06   17   BY MR. LOMAS:

14:12:07   18   Q.       Mr. Fuks, do you have a copy of Exhibit 1 with you

14:12:10   19   today?

14:12:17   20   A.       Yes.

14:12:18   21   Q.       Oh, okay.    So, you have a copy of Exhibit 1.       All

14:12:22   22   right.   Can you flip through --

14:12:23   23                        Would you take a moment to flip through your

14:12:26   24   copy of Exhibit 1.

14:12:33   25   A.       Yes.    I'll have to get it.    Just a second.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 20 of 81 Page ID #:468

                                                                                     20


14:12:38    1   Q.        Okay.   It's not in front of you at the --

14:12:49    2   A.        Yes.    What's the date?

14:12:54    3   Q.        Mr. Fuks, hold on.    Do you see --

14:12:58    4                        Is it the label version with "Exhibit 1" on

14:13:01    5   the cover, the yellow label?

14:13:04    6   A.        I don't have a yellow label.

14:13:06    7   Q.        Then put that away.      We'll just focus on what's on the

14:13:14    8   screen.

14:13:14    9   A.        Now I can see it well.

14:13:16   10   Q.        Perfect.

14:13:21   11   A.        Yes, I see it.

14:13:22   12   Q.        Okay.   I'm going to scroll through this exhibit 1 and

14:13:27   13   ask you if you can take a look and see.

14:13:36   14   A.        I'm not able to read it all.

14:13:39   15   Q.        Do you need to see it?     Do you recognize Exhibit 1?

14:13:45   16   A.        Yes, of course.   This is our correspondence with him.

14:13:52   17   Q.        Okay.   Is Exhibit 1 a copy of the data file with your

14:13:58   18   WhatsApp messages that you provided to counsel in this case?

14:14:04   19   A.        Yes.    Yes.

14:14:11   20   Q.        And, Mr. Fuks, if you see the bottom on the page here,

14:14:19   21   the file, do you see this line where it says "file documents.

14:14:29   22   Check by text."      Do you see that?

14:14:33   23   A.        Yes.    In small type.

14:14:36   24   Q.        Okay.   And does it --

14:14:39   25                        Do you recognize that file name from when you
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 21 of 81 Page ID #:469

                                                                                     21


14:14:42    1   downloaded the file?

14:14:48    2   A.      Could it be enlarged a little bit?        Just that bottom

14:14:54    3   portion?    Yes, now I can see it.

14:15:06    4   Q.      Okay.    And is this Exhibit 1 the text file export from

14:15:10    5   your WhatsApp message on your phone?

14:15:21    6   A.      That's correct.

14:15:22    7   Q.      Mr. Fuks, did you and Mr. Vanetik exchange any

14:15:29    8   messages about the 2016 U.S. presidential election?

14:16:06    9   A.      Yes.    We communicated about it.      He was updating me on

14:16:11   10   how the race was going, that Trump is winning, and he also

14:16:15   11   told me that some acquaintances of his were getting

14:16:20   12   significant posts, just things like that.

14:16:25   13   Q.      Okay.    And are those text messages included in Exhibit

14:16:32   14   1?

14:16:32   15                  THE INTERPRETER:   Excuse me?

14:16:34   16   BY MR. LOMAS:

14:16:34   17   Q.      Mr. Fuks, are those text messages that you referenced,

14:16:38   18   are they included in Exhibit 1?

14:16:45   19   A.      Yes.

14:16:46   20                  MR. LOMAS:   Your Honor, at this time I'd like to

14:16:48   21   move for the admission of Plaintiff Exhibit 1 into evidence.

14:16:51   22                  MR. HAMILTON:   Objection, Your Honor.     Foundation,

14:16:54   23   authentication.

14:17:02   24                  THE COURT:   What specifically is deficient in

14:17:05   25   terms of the --
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 22 of 81 Page ID #:470

                                                                                     22


14:17:06    1                      What are you challenging?

14:17:08    2                MR. HAMILTON:    We're challenging that they're

14:17:11    3   actually real, some of them.

14:17:17    4                THE COURT:    When you say "they" --

14:17:21    5                MR. HAMILTON:    Some of the text messages my client

14:17:33    6   will testify that he did not write.

14:17:36    7                THE COURT:    Okay.

14:17:36    8                MR. HAMILTON:    Some he does realize.

14:17:41    9                THE COURT:    All right.    So, you're challenging the

14:17:43   10   authenticity of the document.

14:17:47   11                MR. HAMILTON:    Yes, Your Honor.

14:17:48   12                THE COURT:    All right:    And this is a --

14:18:05   13                      Counsel, can you just clarify for me?        Is

14:18:08   14   this a single conversation or a series of communications?

14:18:12   15                MR. LOMAS:    No, this is the text message history

14:18:12   16   between the two parties that Mr. Fuks exported from his

14:18:18   17   phone.   So, it's consistent with his testimony.         He exported

14:18:21   18   the entire data file, the app allows you to export the entire

14:18:26   19   data file, and that's what he testified to earlier.

14:18:26   20                THE COURT:    Okay.

14:18:28   21                MR. LOMAS:    And he also testified that he did not

14:18:30   22   edit in any way or change in any way the text messages.

14:18:33   23                THE COURT:    No, I understand.     I heard his

14:18:35   24   testimony.    I'm just trying to clarify what the document is.

14:18:35   25                MR. LOMAS:    Sure.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 23 of 81 Page ID #:471

                                                                                     23


14:18:39    1                THE COURT:    So, I see a series of numbers on the

14:18:42    2   left side of the document throughout.

14:18:46    3                MR. LOMAS:    Yeah, and I can either have the

14:18:47    4   witness clarify or --

14:18:49    5                THE COURT:    I don't think we have any testimony

14:18:50    6   about what those are.

14:18:51    7                MR. LOMAS:    Okay.

14:18:52    8                THE COURT:    And then is there an agreement as to

14:18:53    9   the accuracy of the translations?

14:18:57   10                MR. LOMAS:    There was no objection when we

14:18:59   11   provided the translation.

14:19:06   12                THE COURT:    Okay.   For purposes of the Court's

14:19:07   13   review, obviously I need to be able to understand the

14:19:11   14   document and I want to make sure I understand what the layout

14:19:13   15   is.   So, if there are dates that are relevant in the document

14:19:20   16   or the document is broken out chronologically, it would be

14:19:24   17   helpful to know how it's organized and -- for purposes of the

14:19:29   18   Court's future review.

14:19:31   19                      So, why don't you just ask the witness a few

14:19:34   20   more questions.

14:19:36   21                MR. LOMAS:    Sure.

14:19:36   22   BY MR. LOMAS:

14:19:37   23   Q.      Mr. Fuks, if you could take a look again at Exhibit 1.

14:19:41   24   I'm going to --

14:19:42   25                      Can you see it clearly now on the screen?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 24 of 81 Page ID #:472

                                                                                     24


14:19:47    1   A.      Yes.

14:19:48    2   Q.      Okay.    I'm going to refer you to the first line on

14:19:52    3   Exhibit 1, and you'll see the numbers 18.03.16.          What do

14:19:59    4   those numbers mean?

14:20:07    5   A.      That would be March 18th of 2016.

14:20:16    6   Q.      Okay.    So, in this document the first set of numbers

14:20:20    7   before the comma are -- is the date of the message?

14:20:24    8   A.      Yes.

14:20:28    9   Q.      And then after the comma, you'll see on the first line

14:20:33   10   again, 19:10:51.     Do you see that?

14:20:47   11   A.      That's time.

14:20:48   12   Q.      That's the time?

14:20:50   13   A.      I think it's the time.

14:20:53   14   Q.      So that would be 7:10 p.m.?

14:20:59   15   A.      Yes.    Probably.

14:21:06   16                  THE COURT:   And the time where?    In what time

14:21:09   17   zone?

14:21:11   18   BY MR. LOMAS:

14:21:11   19   Q.      Mr. Fuks, do you know what time zone?

14:21:27   20   A.      No.

14:21:28   21   Q.      Mr. Fuks, when you exported the data file from

14:21:33   22   WhatsApp, were you in Ukraine?

14:21:46   23   A.      Yes.

14:21:46   24   Q.      And, again, was the WhatsApp mobile app, was that on

14:21:52   25   your phone?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 25 of 81 Page ID #:473

                                                                                       25


14:21:57    1   A.       Yes, of course.

14:21:58    2   Q.       And what time zone is the setting -- or what time zone

14:22:04    3   is your phone set to?

14:22:14    4   A.       Local, Ukraine.

14:22:20    5                   THE COURT:   I just have one more question.     P.F.

14:22:25    6                   MR. LOMAS:   Yeah, I was just going to -- you beat

14:22:28    7   me to it.    There were a couple of questions; that was one of

14:22:30    8   them.

14:22:31    9                   THE COURT:   Go ahead.

14:22:31   10   BY MR. LOMAS:

14:22:32   11   Q.       Mr. Fuks, in the first line, again, after the numbers,

14:22:35   12   there is a -- after this colon, after the number, there is a

14:22:41   13   line I've highlighted and a few words -- it may be Russian or

14:22:45   14   Ukrainian, followed by another colon.        Do you see those

14:22:50   15   words?

14:23:02   16   A.       That's how he has saved on my phone.

14:23:06   17   Q.       And who is "he"?

14:23:07   18   A.       Yuri Vanetik.

14:23:12   19   Q.       And then, Mr. Fuks, the next line down, do you see

14:23:15   20   there is a P.F., do you see that, the line?

14:23:21   21   A.       That's me, Pavel Fuks.

14:23:29   22   Q.       And so if it's P.F. in front of the message, does that

14:23:32   23   indicate that that's a message that you've sent?

14:23:41   24   A.       Yes.

14:23:42   25   Q.       And then if it's the contact info name that you had
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 26 of 81 Page ID #:474

                                                                                     26


14:23:47    1   with Mr. Vanetik, does that indicate that that was a text

14:23:52    2   that you received from Mr. Vanetik?

14:24:04    3   A.      That's exactly right.

14:24:06    4   Q.      Did you provide information when you met Mr. Vanetik

14:24:09    5   to be able to contact you using WhatsApp?

14:24:26    6   A.      Yes, we exchanged phone numbers.

14:24:28    7   Q.      And your phone number, your mobile phone number how

14:24:33    8   you can identify somebody or find somebody in WhatsApp?

14:24:42    9   A.      Yes.

14:24:43   10   Q.      Does Exhibit 1 include any messages that you exchanged

14:24:47   11   with anyone other than Mr. Vanetik?

14:25:03   12   A.      No, only Mr. Vanetik.

14:25:06   13   Q.      The first as --

14:25:08   14                      You testified earlier the first message here

14:25:10   15   is dated March 18th, 2016, and I'll show you the end of this

14:25:19   16   file.

14:25:34   17                      Mr. Fuks, do you see the last line before the

14:25:37   18   translation begins, do you see this line here and that date?

14:25:46   19   A.      Yes.   10-05-17.

14:25:53   20   Q.      Does that mean it's May 10, 2017?

14:25:59   21   A.      Yes.

14:25:59   22   Q.      Does Exhibit 1 contain the full history of your

14:26:04   23   WhatsApp messages exchanged with Mr. Fuks -- excuse me, Mr.

14:26:08   24   Vanetik, from March 18, 2016 through May 10, 2017?

14:26:31   25   A.      Yes.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 27 of 81 Page ID #:475

                                                                                      27


14:26:36    1                MR. LOMAS:    Did Your Honor have any other

14:26:37    2   issues --

14:26:38    3                      Responding to the objection, I'm just not

14:26:40    4   sure we resolved it.

14:26:41    5                THE COURT:    Just in terms of the Court's ability

14:26:43    6   to use the transcript, I see some lines that have English

14:26:48    7   after the native language and some lines do not.          So, are you

14:26:56    8   not offering the untranslated lines to the Court for its

14:27:03    9   consideration.

14:27:07   10                MR. LOMAS:    So, the first part of this, all the

14:27:10   11   way down pages 1 through 14 is the original file, and then

14:27:15   12   the translation -- the English translation follows.           And I

14:27:21   13   can ask another couple of questions to help clarify that if

14:27:24   14   you need.

14:27:25   15                THE COURT:    Go ahead.

14:27:26   16                MR. LOMAS:    Okay.

14:27:27   17   BY MR. LOMAS:

14:27:29   18   Q.      Mr. Fuks, when you -- when you sent -- excuse me --

14:27:34   19   when you received messages from Mr. Vanetik, did he write

14:27:38   20   messages in --

14:27:39   21                      What language did he write messages in?

14:27:47   22   A.      In English.

14:27:49   23   Q.      And which languages did you --

14:27:53   24                      Did you --

14:27:54   25                      What language did you use when you texted
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 28 of 81 Page ID #:476

                                                                                     28


14:27:57    1   using WhatsApp to Mr. Vanetik?

14:28:07    2   A.      Russian.

14:28:12    3                MR. LOMAS:    Your Honor, does that satisfy in that

14:28:16    4   area or --

14:28:19    5                THE COURT:    I see.   So, the layout of the

14:28:22    6   transcription here is that Mr. Fuks's statements are in

14:28:28    7   native Russian without translation, and Mr. Vanetik's are in

14:28:32    8   English?

14:28:34    9                MR. LOMAS:    Right.   The first 14 pages of the

14:28:36   10   original file, and so that's how the messages appear in the

14:28:39   11   original file --

14:28:40   12                THE COURT:    Okay.

14:28:41   13                MR. LOMAS:    -- and we provided a translation that

14:28:43   14   then includes the original --

14:28:45   15                      It maintained the English, but then where

14:28:47   16   there was Russian, we -- it was translated into English.           So,

14:28:52   17   it was the last, after the certificate of translation, which

14:28:57   18   is on page 15, the following page 16 through 29 is the same,

14:29:04   19   just having all English as opposed to partially in Russian.

14:29:08   20                THE COURT:    All right, thank you for clarifying.

14:29:10   21                MR. LOMAS:    Okay.

14:29:11   22                THE COURT:    All right, anything else that you want

14:29:14   23   to offer foundationally with respect to the exhibit?

14:29:18   24                MR. LOMAS:    I would think that that's enough from

14:29:21   25   our side, so no, not at this time.        But I think we'd still
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 29 of 81 Page ID #:477

                                                                                     29


14:29:25    1   like to move into --

14:29:27    2                THE COURT:    Anything else, Mr. Hamilton, other

14:29:29    3   than the authentication objection you raised earlier?

14:29:32    4                MR. HAMILTON:    Same objection, Your Honor, but

14:29:34    5   they weren't produced by subpoena, and they don't have an

14:29:37    6   expert here to confirm.      Mr. Fuks just says he downloaded

14:29:43    7   them off of his computer.

14:29:47    8                THE COURT:    All right, but the expert is in the

14:29:48    9   context of the transfer of the data?

14:29:53   10                MR. HAMILTON:    Transfer of the data, yes.

14:29:55   11                THE COURT:    Okay.   I believe there is sufficient

14:29:57   12   evidence in the record to allow for the exhibit to be

14:30:00   13   admitted under Rule 104.      So it's admitted.

14:30:04   14                MR. LOMAS:    Thank you, Your Honor.

14:30:04   15                (Exhibit No. 1 received in evidence.)

14:30:08   16   BY MR. LOMAS:

14:30:09   17   Q.      Mr. Fuks, how did you send the original data file to

14:30:11   18   your counsel?

14:30:25   19   A.      I'm not sure I recall exactly.       Either via e-mail or

14:30:41   20   through WhatsApp.     I don't know at this point.

14:30:45   21   Q.      Okay, thank you.     All right, Mr. Vanetik -- excuse me,

14:30:51   22   not Mr. Vanetik -- I apologize for the pronunciation.

14:30:55   23                      Mr. Fuks, did Mr. Vanetik send you any text

14:30:58   24   messages after Donald Trump won the 2016 presidential

14:31:04   25   election?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 30 of 81 Page ID #:478

                                                                                     30


14:31:08    1   A.      He did.

14:31:16    2   Q.      And what did he say to you?       Did he talk about the

14:31:21    3   election in his messages to you?

14:31:29    4   A.      Yes, he said that Trump won, and now some friends of

14:31:41    5   his are supposed to be placed in -- appointed to high

14:31:46    6   positions.

14:31:47    7   Q.      Did you respond to that message, those messages?

14:31:56    8   A.      Yes.

14:31:57    9   Q.      And what did --

14:31:59   10                      How did you respond to Mr. Vanetik?

14:32:03   11   A.      I don't remember exactly.       We just exchanged comments.

14:32:18   12   I might have said:     Good for you.     Good going.

14:32:25   13   Q.      Did you ask Mr. Vanetik about the inauguration?

14:32:43   14   A.      Yes, I did because he said:       You're not coming?     And I

14:32:48   15   said:   Yes, I'm intending to come.

14:32:51   16   Q.      And did you ask about attending the inauguration,

14:32:56   17   about yourself attending the inauguration?

14:33:02   18   A.      Yes, I do.

14:33:06   19   Q.      And what did Mr. Vanetik say in response?

14:33:13   20   A.      He said that he could organizes VIP tickets to all

14:33:32   21   kinds of red carpet events and balls and things like that.

14:33:38   22   Q.      Did Mr. Vanetik say anything about the difference

14:33:41   23   between VIP events non-VIP events?

14:33:59   24   A.      Yes, he said that the VIP version would include all

14:34:15   25   kinds of red carpet events and things like that, a lot of
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 31 of 81 Page ID #:479

                                                                                      31


14:34:20    1   events, maybe five, and I -- I asked him how much it would

14:34:28    2   cost, and he said he would get back to me the next day.

14:34:32    3   Q.        Did Mr. Vanetik say anything about timing in terms of

14:34:38    4   obtaining tickets to events?

14:34:45    5   A.        Yes.    He the next day told me it would cost $200,000,

14:35:11    6   but it would have to be paid within five days because after

14:35:15    7   that, it would become, he said, five or three times or maybe

14:35:18    8   up to five times more expensive.        He was giving me some crazy

14:35:28    9   number.

14:35:32   10   Q.        And, Mr. Fuks, if you can see on the screen this line

14:35:33   11   that I'm highlighting.

14:35:40   12                    THE COURT:   Which page, Counsel?

14:35:42   13                    MR. LOMAS:   Page 20 -- 22.

14:35:47   14                    THE COURT:   22, that's the English version?

14:35:49   15                    MR. LOMAS:   Yes.

14:35:53   16                    THE WITNESS:   I see it.

14:35:55   17   BY MR. LOMAS:

14:35:55   18   Q.        Is this the message where you're referring to the

14:35:57   19   timing of needing to get tickets and the price increasing?

14:36:04   20   A.        Yes, yes, yes.

14:36:10   21   Q.        And what is the date of this message?

14:36:17   22   A.        November 17, 2016.

14:36:29   23   Q.        Okay.    And what did you say about -- or did you ask

14:36:37   24   Mr. Vanetik or tell Mr. Vanetik --

14:36:40   25                         Excuse me, Mr. Vanetik, I apologize.      I'm
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 32 of 81 Page ID #:480

                                                                                     32


14:36:42    1   used to saying it the other way until I heard the correct

14:36:51    2   pronunciation.       So, my apologies.

14:36:51    3                         Did you tell Mr. Vanetik anything about the

14:36:54    4   type of tickets that you wanted for the inauguration?

14:37:02    5   A.        Yes, of course.

14:37:05    6   Q.        And what did you tell him?

14:37:08    7   A.        Yes, that there would be various events upon our

14:37:32    8   arrival, including private room for dinner and --

14:37:47    9                         The reception to honor victory day and the

14:37:51   10   inauguration itself, some type of parade, possibly, inaugural

14:38:11   11   ball.   I'd have to look at the list.       There were five or six

14:38:15   12   events.

14:38:15   13   Q.        Did you ask Mr. Vanetik or tell Mr. Vanetik that you

14:38:20   14   wanted the best access?

14:38:31   15                    MR. LOMAS:   Actually, let me strike that.

14:38:33   16   BY MR. LOMAS:

14:38:35   17   Q.        Did you tell Mr. Vanetik that you wanted the best VIP

14:38:41   18   package?

14:38:48   19   A.        Yes.

14:38:49   20   Q.        And what did Mr. Vanetik tell you about the best VIP

14:39:01   21   package?

14:39:01   22   A.        Yes, he said I'll do it if it's -- if the payment is

14:39:06   23   made quickly within five days.

14:39:08   24   Q.        And what did Mr. Vanetik tell you about the price for

14:39:13   25   the best VIP package?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 33 of 81 Page ID #:481

                                                                                     33


14:39:17    1   A.      That one package for one person would cost 100,000.

14:39:27    2   Q.      And how many -- did you ask --

14:39:27    3                       Strike that.

14:39:34    4                       Did you tell Mr. Vanetik that you wanted any

14:39:35    5   of those tickets?

14:39:43    6   A.      Yes, I said that I wanted two such tickets.

14:39:53    7   Q.      Did Mr. --

14:39:56    8                       After you confirmed that you wanted two

14:39:58    9   tickets, did Mr. Vanetik ask you for any additional

14:40:02   10   information?

14:40:14   11   A.      I believe he asked for copies of passports.

14:40:23   12   Q.      Okay.   Did Mr. Vanetik give you any information about

14:40:36   13   how to make the payment for the $200,000?

14:40:52   14   A.      Yes.    First he referred to the Hamilton Company.

14:41:05   15   Q.      Okay.   And did he provide you wire instructions for --

14:41:11   16   to make that payment?

14:41:11   17   A.      Yes, yes.    He sent me the --

14:41:23   18                       In the information, it said that it was going

14:41:26   19   to be a payment for some other type of services.

14:41:29   20   Q.      And so on the screen do you see the message that's

14:41:36   21   dated November 19, 2016 at O sixteen fifty-three?

14:41:49   22   A.      Yes, yes.

14:41:50   23   Q.      So, is this the message from Mr. Vanetik telling you,

14:41:55   24   giving you the wire instructions for the $200,000 payment for

14:42:00   25   the VIP package?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 34 of 81 Page ID #:482

                                                                                     34


14:42:04    1   A.      Yes.

14:42:05    2   Q.      When you received this message, did you know what

14:42:11    3   Hamilton Law Offices was?

14:42:21    4   A.      No, never heard of it.

14:42:22    5   Q.      Have you heard -- or do you have any new information

14:42:26    6   about Hamilton Law Offices since the date of this message?

14:42:39    7   A.      No, I only found out from my attorneys that they

14:42:49    8   represent Vanetik's interest in the court.

14:42:56    9   Q.      Mr. Fuks, did you wire the $200,000 payment for the

14:43:00   10   VIP package to the Hamilton Law Office account that Mr.

14:43:05   11   Vanetik identified in his message?

14:43:18   12   A.      No.    He later changed it.

14:43:22   13   Q.      And how did he change the wire instructions?

14:43:29   14   A.      He said no, don't pay to this entity.        It's best to

14:43:46   15   pay here, and he gave me the information for the Odyssey

14:43:52   16   Company.

14:43:52   17   Q.      Did Mr. Vanetik send you the invoice for the $200,000

14:44:00   18   for the VIP inauguration tickets?

14:44:14   19   A.      Yes.

14:44:14   20   Q.      I'm going to bring up Exhibit 2 -- what's been marked

14:44:23   21   as Plaintiff Exhibit 2 on the screen.        Two-page document,

14:44:31   22   first page shows as an e-mail heading and then the second

14:44:34   23   page is the attachment.

14:44:36   24                      Mr. Fuks, do you recognize this document

14:44:41   25   that's been marked as Plaintiff Exhibit 2?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 35 of 81 Page ID #:483

                                                                                     35


14:44:44    1   A.      Yes, I do.

14:44:51    2   Q.      Okay, do you recognize --

14:44:55    3                       And what is Plaintiff Exhibit 2, document?

14:44:59    4   A.      This is -- this was a message sent, I believe, by Yuri

14:45:15    5   Vanetik with instructions on where to pay.

14:45:18    6   Q.      And is this -- the front line is Yuri@Vanetik.com, is

14:45:28    7   that your understanding that's Mr. Vanetik's e-mail address?

14:45:40    8   A.      Yes.

14:45:41    9   Q.      The first two lines, do you see the e-mail address

14:45:41   10   at -- (INCOMPREHENSIBLE).

14:45:41   11                       COURT REPORTER:    I'm sorry, you're going to

14:45:41   12   have to slow down.

14:45:50   13                  MR. LOMAS:   Yeah.   I'll slow down.

14:45:50   14                       Mr. Fuks, on the first -- excuse me -- on the

14:45:53   15   two line of this e-mail, there is an e-mail address that's

14:45:59   16   dpapvlov@consus-group.ru.      Do you know who's e-mail address

14:46:24   17   that is?

14:46:26   18   A.      I'm sorry what was the beginning of --

14:46:28   19   Q.      Do you know --

14:46:30   20                       Mr. Fuks, do you know who's e-mail address

14:46:32   21   this is?

14:46:38   22   A.      These are of addresses of my coworkers.

14:46:44   23   Q.      Okay.    So, the first one, the first e-mail address,

14:46:47   24   who's e-mail address is that specifically?

14:46:56   25   A.      Demitri Palmov (phonetically spelled), my coworker.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 36 of 81 Page ID #:484

                                                                                     36


14:46:59    1   Q.      And then the second one which is F-I-L-I-P-P-O-V-A,

14:47:05    2   with the same extension afterwards, who's e-mail address is

14:47:15    3   that?

14:47:15    4   A.      This is also a worker of mine.

14:47:17    5   Q.      What of -- what do they do for you?        What type of work

14:47:21    6   do they do for you?

14:47:23    7   A.      They deal with payments.

14:47:27    8   Q.      And so did you have -- were you having them involved

14:47:31    9   with the payment for the inauguration tickets?

14:47:44   10   A.      Yes, I gave orders to pay for it.

14:47:46   11   Q.      Okay.   Then we'll flip to the second page.        Is this

14:47:50   12   the invoice with the title Odyssey Management LLC, is this

14:47:57   13   the invoice that Mr. Vanetik asked you to use for the VIP

14:48:05   14   inauguration tickets?

14:48:19   15   A.      Yes.

14:48:19   16   Q.      Why does this invoice under the description refer to

14:48:25   17   project analysis, business plan development, due diligence

14:48:29   18   and these other items?

14:48:42   19   A.      He told me that he needed it to be done in this form.

14:48:52   20   Q.      Okay.   Did you pay the $200,000 to Mr. Vanetik using

14:49:02   21   this invoice at Odyssey Management?

14:49:13   22   A.      Yes.

14:49:13   23   Q.      And how do you know that the payment was made?

14:49:20   24   A.      First of all, my workers notified me that it was done,

14:49:44   25   and also Yuri Vanetik himself notified me that he had
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 37 of 81 Page ID #:485

                                                                                     37


14:49:52    1   received it.

14:49:52    2   Q.        Did your workers provide any documentation of the wire

14:49:56    3   payment?

14:50:07    4   A.        Yes, I think the confirmation was sent to them.

14:50:13    5   Q.        Before receiving this invoice or before November 2016,

14:50:25    6   I should say, had you ever heard of Odyssey Management LLC?

14:50:31    7   A.        No.

14:50:43    8   Q.        Do you know what Odyssey Management is?

14:50:52    9   A.        No.

14:50:54   10   Q.        Mr. Fuks, I'm going to -- I'm bringing up on the

14:51:06   11   screen what's been marked as Plaintiff Exhibit 3.          Plaintiff

14:51:16   12   Exhibit 3 is a one-page document with sorted characters and

14:51:21   13   numbers and texts and words on here.        Do you recognize

14:51:27   14   Exhibit 3?

14:51:36   15   A.        Yes, it's swift (phonetically spelled).

14:51:38   16   Q.        "It's swift."   What is a "swift"?

14:51:43   17   A.        It's a receipt from the bank to the fact that the

14:51:57   18   money was withdrawn from us and forwarded to the other

14:52:02   19   entity.

14:52:02   20   Q.        And so was this -- is this then the receipt that you

14:52:07   21   mentioned for the $200,000 payment to Odyssey Management for

14:52:13   22   the VIP inauguration package?

14:52:27   23   A.        Yes.

14:52:28   24   Q.        This indicates that the payment was made from an

14:52:35   25   account from BEM Global Corp.       What is BEM Global Corp.?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 38 of 81 Page ID #:486

                                                                                     38


14:52:45    1   A.      That's one of my companies.

14:53:01    2                MR. LOMAS:    Your Honor, at this time I'd like to

14:53:04    3   move into admission exhibits 2 and 3.

14:53:07    4                THE COURT:    All right, any objection?

14:53:09    5                MR. HAMILTON:    No objection, Your Honor.

14:53:10    6                THE COURT:    All right, then 2 and 3 are admitted.

14:53:13    7                MR. LOMAS:    Thank you.

14:53:14    8                (Exhibit Nos. 2 and 3 received in evidence.)

14:53:22    9   BY MR. LOMAS:

14:53:25   10   Q.      All right, Mr. Fuks, after you paid --

14:53:29   11                      Actually, let me strike that.

14:53:34   12                      Mr. Fuks, after you paid for the inauguration

14:53:37   13   package, did Mr. Vanetik send you anything more about the

14:53:42   14   events that you had purchased?

14:53:44   15   A.      I requested that he send actual tickets and schedule

14:54:15   16   what events and when, but he did not send them.

14:54:20   17   Q.      Okay.   And when did you --

14:54:24   18                      Approximately, what date or what time of year

14:54:27   19   did you ask for this information about the scheduled events?

14:54:32   20   A.      I think the next day after he received the money or

14:54:49   21   soon thereafter, in the next one or two days.

14:54:53   22   Q.      Did Mr. Vanetik provide any more details concerning

14:55:03   23   the schedule of events?

14:55:05   24   A.      He said we should wait a week, things are being

14:55:21   25   organized.    As soon as it's available, I will send it to you.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 39 of 81 Page ID #:487

                                                                                     39


14:55:35    1   Q.        Mr. Fuks, I'm showing you on Exhibit 1 a message that

14:55:38    2   is dated November 16 -- excuse me -- November 29, 2016.

14:55:48    3   A.        Yes, I see it.

14:55:49    4   Q.        Is this a message that you received from Mr. Vanetik?

14:55:58    5   A.        Yes.    He notified me that supposedly everything is

14:56:02    6   done.

14:56:03    7   Q.        And then earlier you testified about a list of events

14:56:05    8   that he eventually provided to you.        Do you see this message,

14:56:10    9   November 30, 2016, is this the message that you were

14:56:14   10   referring to, identifying the events that you had purchased?

14:56:27   11   A.        Yes, yes.

14:56:28   12   Q.        And so you understood -- excuse me.      I should say --

14:56:32   13                         So, did you understand that you would have

14:56:34   14   these tickets to these events after receiving this e-mail, or

14:56:38   15   the message?

14:56:51   16   A.        Definitely.    Of course.

14:56:53   17   Q.        Okay.   Did Mr. Vanetik send you an actual itinerary

14:57:04   18   with dates and times of these events?

14:57:14   19   A.        No.    He said that things are being constantly changed

14:57:27   20   and moved around, that there were no specific dates.

14:57:33   21   Q.        Did Mr. --

14:57:37   22   A.        He also promised some extras on top of what was

14:57:47   23   listed.    The extra events.     In addition to the five or six.

14:57:58   24   He said that there will be additional ones.

14:58:00   25   Q.        Okay.   Did Mr. Vanetik try to sell you any tickets to
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 40 of 81 Page ID #:488

                                                                                     40


14:58:08    1   any other events?

14:58:18    2   A.      No, he said if one wanted to meet with Trump, it would

14:58:36    3   cost 350,000.    He also said that I should come a few days

14:58:44    4   earlier, but I said that it simply wasn't going to work out.

14:58:51    5   Q.      Do you recall when you actually received an actual

14:58:54    6   schedule of the events with the dates and times?

14:59:10    7   A.      I did not receive them.

14:59:12    8   Q.      Did Mr. Vanetik ever ask you what date you were going

14:59:20    9   to be coming in to Washington, D.C. on?

14:59:30   10   A.      Yes.

14:59:30   11   Q.      Okay, and do you --

14:59:36   12                      Well, I'm looking here at page 27 of Exhibit

14:59:42   13   1, and there is a message dated January 17 -- January 15,

14:59:47   14   2017.   Is this the message that you were referring to when he

14:59:51   15   asked when would be -- umm -- oh, excuse me, I'm sorry.

15:00:00   16   Lower down.

15:00:00   17                      January 17, 2017 at 7:47.      Is this the

15:00:05   18   message where Mr. Vanetik asked you when you were flying in?

15:00:18   19   A.      Yes.

15:00:23   20   Q.      Okay.   And what did you tell him?

15:00:29   21   A.      I told him that we were --

15:00:41   22                      I think at 1:00 p.m.?     Or was it 1:00 a.m.?

15:00:48   23   No, I think it was 1:00 p.m.

15:00:51   24   Q.      On what date?

15:00:52   25   A.      It was the 19th.     Or is the 17th?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 41 of 81 Page ID #:489

                                                                                     41


15:01:03    1   Q.        What -- did you -- what --

15:01:08    2   A.        Yes, on the 19th at one.

15:01:14    3   Q.        Do you recall how many days in advance of the actual

15:01:19    4   inauguration that you arrived in Washington, D.C.?

15:01:31    5   A.        I think one day maybe.    It might have been on the

15:01:35    6   20th.

15:01:35    7   Q.        So, did you arrive the day before the inauguration?

15:01:44    8   A.        Yes, before -- because there was some type of

15:01:50    9   events scheduled.       Maybe, maybe dinner or something.

15:01:55   10   Q.        Mr. --

15:02:04   11   A.        I'm mixing up the dates.     When was the inauguration,

15:02:10   12   anyway?

15:02:10   13   Q.        Yeah, I'll ask the question here.

15:02:16   14   A.        Sorry.

15:02:17   15   Q.        No problem.    No problem.   I'll help to refresh your

15:02:21   16   memory here.

15:02:25   17   A.        As I recall, we arrived exactly one day before.

15:02:31   18   Q.        One day before the inauguration, is that what you're

15:02:34   19   saying?

15:02:36   20   A.        Yes.

15:02:36   21   Q.        All right.    And do you recall Mr. Vanetik's reaction

15:02:46   22   to that?

15:02:53   23   A.        He said that we got screwed over the first event.

15:03:16   24   Some kind of dinner or banquet.

15:03:19   25   Q.        Okay, Mr. Fuks, I'm on page 12.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 42 of 81 Page ID #:490

                                                                                     42


15:03:30    1                       Mr. Fuks, I'm showing you on the screen

15:03:35    2   what is Exhibit 1, again, but page 12.

15:03:42    3   A.      Yes, I see it.

15:03:43    4   Q.      I'd like to refer you to the series of messages, on

15:03:47    5   January 17, 2017.     Is this an exchange --

15:03:54    6                       Do you recall this exchange with Mr. Vanetik

15:03:56    7   about when you were arriving into Washington, D.C.?

15:04:05    8   A.      Yes.

15:04:06    9   Q.      Okay.    And so did Mr. Vanetik refer to an event that

15:04:13   10   night that was a red carpet event?

15:04:19   11   A.      Yes.

15:04:23   12   Q.      And did you ever get tickets from Mr. Vanetik for the

15:04:27   13   red carpet event that night?

15:04:31   14   A.      No.    But he said later that he got cheated, that he

15:04:58   15   got screwed.

15:05:01   16                  THE COURT:   Counsel, before you put your next

15:05:03   17   question to the witness, I know you're focused on your

15:05:08   18   questions, but if you could just adjust the microphone.

15:05:12   19                       If you're going to be sort of gravitating

15:05:16   20   between the lectern and the monitor, you just need to be

15:05:18   21   mindful of where the microphones are because I want to make

15:05:21   22   sure that I can hear you and the court reporter can hear you

15:05:24   23   and of course the interpreter.

15:05:26   24                  MR. LOMAS:   Yes, apologies for that.

15:05:26   25                  THE COURT:   All right.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 43 of 81 Page ID #:491

                                                                                     43


15:05:27    1                   MR. LOMAS:   I see a big green light here but not

15:05:30    2   here so I keep thinking I have to turn --

15:05:35    3                   THE COURT:   They should both be on I trust.

15:05:38    4                   MR. LOMAS:   Yes.

15:05:39    5   BY MR. LOMAS:

15:05:39    6   Q.        All right, Mr. Fuks, I'm referring you again to

15:05:41    7   Exhibit 1, page 8, and this message that you discussed

15:05:45    8   earlier dated November 30, 2016, listing events.          Okay, do

15:05:54    9   you see these events listed here?

15:05:56   10   A.        Yes, I see it.

15:06:04   11   Q.        Okay, did Mr. Vanetik provide you with any tickets to

15:06:10   12   a cabinet dinner?

15:06:19   13   A.        No, he said that he got cheated.

15:06:25   14   Q.        Did Mr. Vanetik provide you with any tickets to the

15:06:31   15   victory reception?

15:06:38   16   A.        No.   Nothing.

15:06:44   17   Q.        Did Mr. Vanetik provide you with any tickets to the

15:06:49   18   inaugural concert and fireworks?

15:06:57   19   A.        No.

15:06:57   20   Q.        Did Mr. Vanetik provide you with any tickets to the

15:07:01   21   parade?

15:07:03   22   A.        No.

15:07:06   23   Q.        Did Mr. Vanetik provide you any tickets to the

15:07:10   24   inaugural ball?

15:07:12   25   A.        No.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 44 of 81 Page ID #:492

                                                                                     44


15:07:14    1   Q.        Did Mr. Vanetik provide you any tickets to the

15:07:18    2   presidential swearing in ceremony?

15:07:22    3   A.        No.

15:07:29    4   Q.        Did anyone else provide you any tickets to the events

15:07:32    5   listed in this message dated November 30, 2016?

15:07:47    6   A.        No.

15:07:50    7   Q.        Did Mr. Vanetik provide you any tickets to any events

15:07:54    8   at all?

15:07:55    9   A.        Yes, he did provide tickets to what he said was this

15:08:35   10   really big deal event, and I asked him why it's not in

15:08:39   11   Washington?     I can't recall now what the name of the city

15:08:42   12   was.

15:08:43   13   Q.        And do you recall what the name of this event was?

15:08:48   14   A.        These were some people from Texas who were celebrating

15:09:12   15   Trump's victory, and so we went there and had some cocktails,

15:09:19   16   and he said Trump is going to come, but nobody arrived.

15:09:22   17   Q.        And this event, was it the Texas Black Tie and Boots

15:09:33   18   event?

15:09:33   19   A.        Yes, yes.

15:09:34   20   Q.        And other than that event, did Mr. Vanetik provide you

15:09:39   21   with any tickets to any events?

15:09:51   22   A.        No, no tickets.    The only thing we did is we went to

15:10:11   23   the hotel where supposedly -- the Trump Hotel, where there

15:10:18   24   was supposed to be an event there.

15:10:20   25                         We arrived there.   They did not let us in.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 45 of 81 Page ID #:493

                                                                                      45


15:10:32    1   We waited near the hotel for about four hours.          So, we went

15:11:05    2   to this smaller rooms that they have in this hotel, and in

15:11:11    3   one of them there were a couple of congressmen, and we took

15:11:15    4   pictures with them, and that's it.        We were not allowed into

15:11:19    5   the Trump dinner.

15:11:24    6   Q.      What happened during the morning of the inauguration

15:11:27    7   day?

15:11:30    8   A.      In the morning Yuri said that a car would be sent

15:11:50    9   by -- from a congressman that he was acquainted with, and we

15:11:58   10   would be taken to the inauguration.

15:11:59   11   Q.      Did the car ever come to pick you up?

15:12:03   12   A.      No.

15:12:05   13   Q.      Did you contact Mr. Vanetik to let him know that the

15:12:14   14   car did not come?

15:12:17   15   A.      Yes.   It was hard to get in touch with him, but then

15:12:45   16   he did answer, and he said that they should be arriving, and

15:12:50   17   then at some point he said you should go on foot.

15:12:54   18   Q.      And did you go on foot to the inauguration?

15:12:58   19   A.      Yes, we went and we stood in line, and at the very

15:13:29   20   first post, they were asking people for invitations.           We got

15:13:38   21   turned around right there.       We weren't able to get in.

15:13:40   22   Q.      You didn't have any --

15:13:42   23                      Did you have any invitation in your hands for

15:13:46   24   the inauguration?

15:13:50   25   A.      No.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 46 of 81 Page ID #:494

                                                                                     46


15:13:51    1   Q.      Did anyone give you any invitation to -- or ticket or

15:13:56    2   pass to the inauguration?

15:13:58    3   A.      No.    He said that this congressman's car would bring

15:14:15    4   them and would take us.

15:14:19    5   Q.      What was the weather that day when you were walking to

15:14:26    6   the inauguration?

15:14:27    7   A.      Yes, it was raining.      I remember we stood under a

15:14:37    8   bridge and waited.

15:14:38    9   Q.      After you were not able to actually go in to see the

15:14:44   10   inauguration, what did you do?

15:14:52   11   A.      I was embarrassed before my friends.        So we just

15:15:12   12   returned to the hotel.      We sat at the bar, drank beer and

15:15:16   13   watched the whole inauguration.

15:15:18   14   Q.      You watched the whole inauguration from the bar?

15:15:23   15   A.      Yes.

15:15:24   16   Q.      And so was that --

15:15:27   17                      Could you see it from the bar, or was it on

15:15:29   18   TV or --

15:15:30   19                      What do you mean by that?

15:15:33   20   A.      Yes.    We were watching the TV translation of it.

15:15:43   21   Q.      Did you try to contact Mr. Vanetik at that point?

15:15:49   22   A.      He --

15:16:21   23                      I was angry.    For a while he wasn't

15:16:27   24   picking -- picking up the phone, and when he did pick it up,

15:16:30   25   and he said it's not over yet, that we could see it's not
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 47 of 81 Page ID #:495

                                                                                     47


15:16:34    1   over yet.      Then at some point this jeep arrived.      So, this

15:17:00    2   vehicle took us to a certain place, and after that we were

15:17:05    3   walking in the opposite direction to the crowds that were

15:17:13    4   walking the other way.      So we went to some type of office

15:17:16    5   building.

15:17:39    6                       So, this building, we went up maybe six or

15:17:43    7   seven stories.     It wasn't all that tall.      And it was the

15:17:48    8   aftermath of the party.      Most of the people had left, most of

15:17:52    9   the food had been eaten, and there from the window, you could

15:17:58   10   see the Capital.      And he said to us:    Look what a beautiful

15:18:18   11   view.

15:18:18   12                       And we were upset and unhappy.      We took some

15:18:22   13   pictures and then we just left.

15:18:24   14   Q.       Did you attend any inauguration -- inaugural ball that

15:18:30   15   evening?

15:18:32   16   A.       No.

15:18:35   17   Q.       Did you --

15:18:37   18   A.       He also was promising us access to that, and I think

15:18:56   19   it was called the butterfly ball or something like that.           But

15:19:04   20   once again, he was unreachable or he disappeared, and

15:19:08   21   eventually I understood that I had simply been screwed.

15:19:13   22                  THE COURT:   Would this be a good time to take a

15:19:15   23   break?

15:19:16   24                  MR. LOMAS:   Sure, that's fine.

15:19:20   25                  THE COURT:   All right, we'll go ahead and take a
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 48 of 81 Page ID #:496

                                                                                     48


15:19:22    1   15-minute recess and continue with the trial.

15:19:26    2                  THE WITNESS:   So, I can take a break also.

15:19:31    3                  THE COURT:   Correct.   Yes, you may.

15:19:36    4                  COURT CLERK:   All rise.

15:19:41    5                       This Court now stands in recess.

15:19:45    6                  (Recess taken.)

15:48:56    7                  THE COURT:   All right, let's continue with the

15:48:58    8   trial.

15:48:59    9                       Counsel and parties are present and the

15:49:01   10   witness and interpreter are assembled.

15:49:03   11                       Go ahead, Counsel.    You may continue with

15:49:06   12   your examination.

15:49:08   13                  MR. LOMAS:   Thank you.

15:49:09   14   BY MR. LOMAS:

15:49:10   15   Q.       Mr. Fuks, before the break, we talked about the day of

15:49:13   16   the inauguration, and you were -- you mentioned that you did

15:49:16   17   not go to a ball the night of the inauguration.

15:49:20   18                       Did you have any tickets to an inaugural ball

15:49:23   19   for the evening after the inauguration?

15:49:39   20   A.       No.

15:49:39   21   Q.       And did anyone provided you with any tickets to any

15:49:44   22   tickets to the inaugural ball for the evening after the

15:49:47   23   inauguration?

15:49:58   24   A.       No.

15:49:58   25   Q.       Did you receive any part of the VIP ticket package
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 49 of 81 Page ID #:497

                                                                                     49


15:50:07    1   that you purchased from Mr. Vanetik?

15:50:24    2   A.       From our -- what I ordered, I did not receive any one

15:50:29    3   of those things.

15:50:31    4   Q.       So, what did you do after -- after not receiving those

15:50:36    5   items?

15:50:42    6   A.       I -- I said:   What happened.      And basically Mr.

15:51:09    7   Vanetik said I got cheated.       And --

15:51:24    8                THE INTERPRETER:     Can I hear the question once

15:51:24    9   again?

15:51:28   10   BY MR. LOMAS:

15:51:28   11   Q.       Sure.   I guess, after -- let me make sure.

15:51:41   12                      The question was:       After not receiving any of

15:51:44   13   the packages, what did Mr. Fuks do?

15:52:00   14   A.       I said Mr. Vanetik:     What happened?    And he said I was

15:52:04   15   cheated.

15:52:09   16   Q.       Did you --

15:52:10   17                      Sorry, Your Honor?

15:52:12   18                      Did you finish?

15:52:14   19   A.       So, I suggested to Mr. Vanetik that he work with the

15:52:41   20   attorneys that I assigned to try to get this money back, and

15:52:47   21   he said okay.    And -- and I said that he should provide me

15:52:53   22   with any copies of all pertinent documentations of all bills.

15:52:57   23   Q.       Okay.   So, did you ask Mr. Vanetik for a refund of the

15:53:01   24   $200,000 you paid for --

15:53:04   25   A.       Yes, of course.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 50 of 81 Page ID #:498

                                                                                     50


15:53:10    1   Q.      And how did Mr. Vanetik respond?

15:53:19    2   A.      He said -- he said:      Sure, yes, I will return.

15:53:30    3   Q.      Did he -- did he explain what happened?

15:53:37    4   A.      He said "I got cheated."

15:53:45    5   Q.      And when you say "I got cheated," are you referring to

15:53:49    6   yourself, Mr. Fuks, or are you referring to Mr. Vanetik

15:53:53    7   saying that Mr. Vanetik himself got cheated?

15:54:01    8   A.      Yes, that he got cheated.       Mr. Vanetik.

15:54:05    9   Q.      Thank you.    And did Mr. Vanetik identify who had

15:54:15   10   cheated him?

15:54:18   11   A.      He said it was the people who were organizing it all,

15:54:27   12   and that he was going to straighten things out with them.

15:54:31   13   Q.      And did he identify the name of the people or group

15:54:37   14   who organized it?

15:54:55   15   A.      I started asking him for it after he initially didn't

15:55:07   16   return the money, and he said:       I can't give it to you

15:55:10   17   because I have some kind of an agreement or association with

15:55:15   18   them.

15:55:19   19   Q.      Okay.   You mentioned that you -- that you asked for

15:55:24   20   the payments or -- excuse me -- the receipts and the

15:55:27   21   contracts.    Did you ever receive any of that information from

15:55:31   22   Mr. Vanetik?

15:55:49   23   A.      No.    Only promises from his side.

15:55:52   24   Q.      Okay.   And what were the promises that he made?

15:56:19   25   A.      He would say things like:       I'm traveling.    I'm in
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 51 of 81 Page ID #:499

                                                                                     51


15:56:25    1   Europe right now.     So, basically, he was traveling a lot.

15:56:29    2   But he said as soon as I return, I will send it to you.

15:56:32    3   Q.      Mr. Fuks, I'm showing you on the screen Exhibit 1,

15:56:40    4   again, page 28, and I'd like you to refer to the last message

15:56:55    5   that it is dated March 9, 2017.       Do you see this message?

15:57:03    6   A.      Yes.

15:57:04    7   Q.      And is this a message that Mr. Vanetik sent to you?

15:57:09    8   A.      Yes.

15:57:14    9   Q.      There is a reference to a letter in this message.          Do

15:57:19   10   you know what Mr. Vanetik is referring to?

15:57:23   11   A.      No.

15:57:28   12   Q.      Here Mr. Vanetik is referring to an MDA.         Do you know

15:57:40   13   what MDA means?

15:57:50   14   A.      Confidentiality agreement.

15:57:53   15   Q.      And did Mr. Vanetik provide you with any

15:57:59   16   confidentiality agreement?

15:58:05   17   A.      No.

15:58:05   18   Q.      He goes on to reference here in this message a PR

15:58:15   19   firm, Meadow Wood PR.      Do you know who Mr. Vanetik is

15:58:22   20   referring to, Meadow Wood PR?       Do you know who that is?

15:58:35   21   A.      No.

15:58:35   22   Q.      Did Mr. Vanetik provide you any information about

15:58:39   23   Meadow Wood PR?

15:58:50   24   A.      No.

15:58:51   25   Q.      Did Mr. Vanetik offer you anything -- instead of
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 52 of 81 Page ID #:500

                                                                                     52


15:59:00    1   money, to try to rectify the situation?

15:59:03    2   A.       No.

15:59:11    3   Q.       Did he offer to try to settle the dispute with this

15:59:18    4   other party that he was blaming?

15:59:38    5   A.       Well, this is what I was asking him to do, but he

15:59:41    6   didn't offer me anything.

15:59:43    7   Q.       Okay.   You were --

15:59:46    8                      Can you clarify, Mr. Fuks?      What were you

15:59:49    9   asking of Mr. Vanetik?

16:00:09   10   A.       I asked him to provide me with information -- the

16:00:25   11   contact information of all the companies, all the people

16:00:29   12   who -- that he claimed cheated him.        Everything pertinent to

16:00:34   13   these supposed six VIP events, and he was not providing me

16:00:40   14   the information.

16:00:41   15   Q.       Okay.

16:00:41   16   A.       Because I wanted to address those individuals or

16:00:47   17   companies through my attorneys and ask them to return the

16:00:53   18   money.

16:00:57   19   Q.       Okay.   Mr. Fuks, we are on page 28 of Exhibit 1, and

16:01:02   20   referring to the message, March 9, 2017 at the bottom of that

16:01:10   21   page.    And it goes on to page 29.      And in this message Mr.

16:01:22   22   Vanetik states:     "I believe that I could negotiate a

16:01:25   23   preemptive settlement where you may get sufficient value for

16:01:29   24   your money and avoid further aggregation."

16:01:34   25                      Do you know what Mr. Vanetik is referring to
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 53 of 81 Page ID #:501

                                                                                     53


16:01:36    1   here in terms of this preemptive settlement?

16:01:51    2   A.      No.

16:01:52    3   Q.      Did Mr. Vanetik ever refund your money?

16:02:00    4   A.      No.

16:02:05    5   Q.      Did Mr. Vanetik ever provide you with any of the

16:02:08    6   documentation you asked for -- asked for from him?

16:02:24    7   A.      No.

16:02:25    8   Q.      Did Mr. Vanetik provide you with any documentation

16:02:29    9   showing payments that he had made for any events, for tickets

16:02:35   10   for any events?

16:02:37   11   A.      No.

16:02:45   12   Q.      Did he provide any documentation regarding any payment

16:02:48   13   that anyone made for tickets to inauguration events?

16:03:06   14   A.      I don't believe so.

16:03:07   15   Q.      Other than what is -- was exchanged here and your text

16:03:14   16   messages with Mr. Vanetik, did he provide you any information

16:03:19   17   concerning agreements related to inauguration events that

16:03:24   18   were being purchased for you?

16:03:41   19   A.      No.

16:03:42   20   Q.      Did Mr. Vanetik ever provide you a copy of the MD.

16:03:49   21   That's referenced in this message?

16:03:52   22   A.      No.

16:04:01   23   Q.      And have you ever seen a copy of this MDA?

16:04:07   24   A.      No.

16:04:08   25   Q.      Earlier, Mr. Fuks, you testified that BEM Global
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 54 of 81 Page ID #:502

                                                                                     54


16:04:16    1   made -- or the payment was made for the VIP package through

16:04:22    2   BEM Global, a company of yours.       Did Mr. Vanetik ever refund

16:04:27    3   any money to BEM Global?

16:04:45    4   A.        No.

16:04:45    5   Q.        And that payment that BEM Global made, was that on

16:04:50    6   your behalf for your VIP ticket package?

16:04:59    7   A.        Yes.

16:05:00    8   Q.        Did Odyssey Management ever refund any money to BEM

16:05:18    9   Global?

16:05:18   10   A.        No.

16:05:18   11   Q.        Did Odyssey Management ever refund any money to you?

16:05:28   12   A.        No.

16:05:28   13   Q.        Did Meadow Wood PR ever refund money to BEM Global?

16:05:44   14   A.        No.

16:05:44   15   Q.        And did Meadow Wood PR ever refund money to you?

16:05:50   16   A.        No.

16:05:51   17   Q.        Did anyone else on behalf of Mr. Vanetik refund the

16:06:00   18   $200,000 to you?

16:06:11   19   A.        No.

16:06:12   20   Q.        Or to BEM Global?

16:06:14   21   A.        No.

16:06:15   22   Q.        Had you known that you would not receive the tickets

16:06:24   23   that you expected to the inauguration, would you have

16:06:28   24   traveled to Washington, D.C. for the inauguration?

16:06:32   25   A.        No, of course not.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 55 of 81 Page ID #:503

                                                                                     55


16:06:44    1   Q.      How much did it cost you to travel to Washington, D.C.

16:06:48    2   for the inauguration?

16:06:55    3   A.      Possibly about $20,000.

16:07:00    4   Q.      And what is that -- $20,000 for what exactly?

16:07:05    5   A.      I think for the hotel.

16:07:10    6   Q.      And what about any airfare or anything else?

16:07:14    7   A.      No, I was coming with an acquaintance, in his plane.

16:07:27    8   Q.      Has anyone ever reimbursed you for the travel cost to

16:07:33    9   Washington, D.C.?

16:07:40   10   A.      No.

16:07:40   11   Q.      Did Mr. Vanetik offer any services instead of money to

16:07:56   12   resolve this issue with you?

16:08:07   13   A.      To me, personally, no.

16:08:11   14   Q.      Have you ever entered into any consulting agreement

16:08:14   15   with Mr. Vanetik?

16:08:16   16   A.      No.

16:08:26   17   Q.      Have you ever entered into any consulting agreement

16:08:29   18   with Odyssey Management?

16:08:39   19   A.      No.

16:08:39   20   Q.      Has BEM Global entered into any consulting agreement

16:08:45   21   with Mr. Vanetik?

16:08:54   22   A.      No.

16:08:54   23   Q.      Has BEM Global entered into any consulting agreement

16:08:58   24   with Odyssey Management?

16:09:07   25   A.      No, no.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 56 of 81 Page ID #:504

                                                                                     56


16:09:09    1   Q.      Do you know what business Odyssey Management is in?

16:09:15    2   A.      No.

16:09:16    3   Q.      Did --

16:09:18    4                      Have you ever entered into --

16:09:20    5                      Other than for the inauguration tickets, have

16:09:23    6   you entered into any agreement with Mr. Vanetik.

16:09:38    7   A.      No.

16:09:39    8   Q.      And, again, other than --

16:09:42    9                      Well, actually, have you ever entered into

16:09:45   10   any agreement with Odyssey Management?

16:09:54   11   A.      No.

16:09:54   12   Q.      And has BEM Global ever entered into any agreement

16:10:00   13   with Vanetik?

16:10:05   14   A.      No.

16:10:05   15   Q.      And has BEM Global ever entered into any type of

16:10:12   16   agreement with Odyssey Management?

16:10:19   17   A.      No.

16:10:20   18   Q.      Mr. Fuks, I'm going to show you on the screen what has

16:10:28   19   been marked as defendant's --

16:10:35   20                      Excuse me.    Actually, that's the wrong --

16:10:37   21                      Let me -- which one -- okay.

16:10:41   22                      Showing you what's been marked as defendant's

16:10:46   23   Exhibit 10.    This is a document -- it's three pages, and has

16:10:54   24   the heading that says Odyssey Pavel Fuks's Confidential

16:11:06   25   Consulting Agreement.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 57 of 81 Page ID #:505

                                                                                     57


16:11:12    1                       Before this lawsuit, have you ever seen this

16:11:15    2   document before?

16:11:20    3   A.      No.

16:11:20    4   Q.      Had you ever discussed entering into a consulting

16:11:28    5   agreement with Odyssey Management?

16:11:35    6   A.      No.

16:11:35    7   Q.      Did you have anyone prepare any type of agreement with

16:11:41    8   Odyssey Management on your behalf?

16:11:49    9   A.      No.

16:11:50   10   Q.      I'm going to scroll to the last page of this document.

16:12:00   11   Mr. Fuks, on this last page, do you see that there is a

16:12:06   12   signature by your name?      Is that your signature?

16:12:15   13   A.      No.

16:12:15   14   Q.      And did you sign this document?

16:12:20   15   A.      No.

16:12:22   16   Q.      Did you have anybody else sign this document for you?

16:12:31   17   A.      No, that's not known to me.

16:12:35   18   Q.      Did you ever authorize anyone to sign any type of

16:12:38   19   document like this for you?

16:12:43   20   A.      No.

16:12:45   21   Q.      Do you --

16:12:51   22                       Is there --

16:12:51   23                       Do you owe any money to Mr. Vanetik for any

16:12:57   24   services?

16:13:01   25   A.      No.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 58 of 81 Page ID #:506

                                                                                       58


16:13:02    1   Q.      Are you aware of any moneys that you owe for Mr.

16:13:06    2   Vanetik for anything?

16:13:14    3   A.      No.

16:13:19    4                  MR. LOMAS:   One moment.

16:13:20    5   BY MR. LOMAS:

16:13:32    6   Q.      Do you owe any funds to Odyssey Management for

16:13:35    7   anything?

16:13:42    8   A.      No.

16:13:43    9   Q.      Do you owe any moneys to -- or excuse me.

16:13:48   10                       Does BEM Global owe any money to Odyssey

16:13:58   11   Management?

16:13:58   12   A.      No.

16:13:59   13   Q.      And does BEM Global owe any money to Mr. Vanetik?

16:14:10   14   A.      No.

16:14:11   15   Q.      Just -- I think one or on two more questions.          Going

16:14:17   16   back to Exhibit 1, again, any messages --

16:14:20   17                       The messages that are in this document that

16:14:22   18   have P.F. in front of them, are those messages that you sent

16:14:25   19   to Mr. Vanetik?

16:14:38   20   A.      Yes.

16:14:39   21   Q.      And the other messages are messages that -- Excuse me.

16:14:42   22                       Are the other messages in this document

16:14:45   23   messages that Mr. Vanetik sent to you?

16:14:53   24   A.      Yes.

16:14:53   25                  MR. LOMAS:   Okay, I have no further questions.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 59 of 81 Page ID #:507

                                                                                     59


16:15:04    1   Thank you.

16:15:09    2                   THE COURT:   All right, for the defense,

16:15:10    3   cross-examination?

16:15:11    4                   MR. HAMILTON:   Yes, Your Honor.

16:15:13    5                   THE COURT:   Go ahead.

16:15:56    6                                CROSS-EXAMINATION

16:15:56    7   BY MR. HAMILTON:

16:15:59    8   Q.       Good evening, Mr. Fuks.      Everyone here thanks you for

16:16:03    9   staying up late and providing testimony for the Court.

16:16:16   10   A.       Good evening.

16:16:17   11   Q.       Isn't it accurate that you can't be here today because

16:16:20   12   the U.S. gave you a five-year travel ban?

16:16:35   13   A.       Yes.

16:16:37   14   Q.       And when did that occur?

16:16:42   15   A.       This happened towards the end of 2017.

16:16:50   16   Q.       And have you applied for a visa to travel to the U.S.

16:16:55   17   since?

16:17:04   18   A.       Of course.

16:17:06   19   Q.       Did you apply for a visa to come over for this

16:17:10   20   specific trial?

16:17:16   21   A.       No, not for this trial, but I applied a few times

16:17:27   22   beforehand, and I was told that until five years passes, I

16:17:31   23   should not apply anymore.

16:17:32   24   Q.       When was the most recent time you applied?

16:17:36   25   A.       I believe it was December 2019.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 60 of 81 Page ID #:508

                                                                                     60


16:17:44    1   Q.      Do you have any understanding why the U.S. government

16:17:48    2   issued that travel ban?

16:17:58    3   A.      No.

16:17:58    4   Q.      Isn't it accurate that you have no knowledge that Mr.

16:18:07    5   Vanetik had any responsibility for you getting that ban?

16:18:25    6   A.      No, but he has -- he had verbally stated to me that he

16:18:35    7   might do that.

16:18:37    8   Q.      But you have no personal knowledge that he did

16:18:42    9   anything, correct?

16:18:47   10   A.      No.   Only his words.

16:18:57   11   Q.      Mr. Fuks, have you ever been banned from visiting any

16:19:02   12   other countries?

16:19:04   13   A.      One time I was not allowed into Israel, but then three

16:19:26   14   weeks later, they did allow me in.

16:19:29   15   Q.      Mr. Fuks, I'm showing you what you looked at earlier,

16:19:34   16   which is Exhibit 2, page 2, and it's the Odyssey Management

16:19:44   17   invoice.    And for the record, mine is not as clear as counsel

16:19:48   18   had up, and it's the same exhibits.        Can you see it?

16:20:03   19   A.      No.

16:20:04   20                 MR. HAMILTON:   Your Honor, can I approach my

16:20:09   21   laptop, see if I can get it clearer.

16:20:14   22                 THE COURT:   Sure, go ahead.     It's in evidence.

16:20:17   23   You're welcome to publish it to the witness if you wish.

16:20:30   24   BY MR. HAMILTON:

16:20:32   25   Q.      Mr. Fuks, is it any clearer for you now?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 61 of 81 Page ID #:509

                                                                                     61


16:20:35    1   A.      Yes.    Odyssey Management.     I know it.   That's what we

16:20:43    2   discussed already.

16:20:44    3   Q.      Okay, and the invoice is from Odyssey Management to

16:20:50    4   BEM Global, correct?

16:20:59    5   A.      Yes.

16:20:59    6   Q.      And the amount is $200,000, correct?

16:21:11    7   A.      Yes.

16:21:11    8   Q.      And it's accurate that Yuri Vanetik is not on this

16:21:16    9   invoice, correct?

16:21:29   10   A.      Probably not.     I don't see it.

16:21:31   11   Q.      Okay.    And looking at Exhibit 2, your name is not on

16:21:35   12   that invoice, correct?

16:21:40   13   A.      Yes.

16:21:43   14   Q.      And you indicated earlier that then Global Corp. was

16:21:50   15   your business.     What does the company do?

16:22:02   16   A.      It's involved in sales.

16:22:05   17   Q.      What does it sell?

16:22:07   18   A.      Real estate.

16:22:10   19   Q.      And does it sell real estate in the British Virgin

16:22:24   20   Islands?    Isles?

16:22:24   21   A.      No.

16:22:24   22   Q.      Where does it sell real estate?

16:22:30   23   A.      In Ukraine.    And it holds part of my companies.        I

16:22:49   24   don't remember exactly.

16:22:49   25   Q.      Is there a specific reason you set up a company in
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 62 of 81 Page ID #:510

                                                                                       62


16:22:54    1   British Virgin Isles to sell Ukraine real estate?

16:23:09    2   A.        They have very convenient taxation.

16:23:22    3   Q.        Can you further amplify what you mean by good

16:23:26    4   taxation?

16:23:32    5                 MR. LOMAS:    Objection.

16:23:35    6                      Apologies.    I just want to object to this

16:23:40    7   line of questioning.

16:23:42    8                 THE COURT:    What's the relevance, Counsel, as to

16:23:45    9   the --

16:23:45   10                 MR. HAMILTON:   I'm just trying to figure out what

16:23:48   11   BEM Global is, where it's located.        It's on the invoice

16:23:53   12   that --

16:23:54   13                 THE COURT:    I understand, but that's not where

16:23:55   14   your question goes to.

16:23:58   15                      All right, the objection is sustained to that

16:23:59   16   question.    Go ahead and ask another question.

16:24:02   17                 MR. HAMILTON:   Thank you, Your Honor.      I'll move

16:24:05   18   on.

16:24:06   19   BY MR. HAMILTON:

16:24:07   20   Q.        And we're still looking at page 2, the invoice.        Did

16:24:11   21   you read it carefully when you received it?

16:24:14   22   A.        It is received and read by special employees of mine.

16:24:35   23   Q.        When was the first time you read page 2 of Exhibit 2?

16:24:46   24   A.        I don't recall.

16:24:49   25   Q.        Would you estimate within one month of the date of
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 63 of 81 Page ID #:511

                                                                                     63


16:24:58    1   November 19th of 2016?

16:25:16    2   A.      No, I do not recall that.

16:25:18    3   Q.      Do you review all invoices that BEM Global pays?

16:25:38    4   A.      Only the names and the amount.       I do not look at all

16:25:48    5   details.    There are attorneys who deal with such issues.

16:25:52    6   Q.      Okay.   And you would agree with me, page 2 of Exhibit

16:25:58    7   2 under "description" doesn't mention anything about the

16:26:01    8   inauguration, correct?

16:26:02    9   A.      Yes.

16:26:15   10   Q.      In fact, it talks about a project analysis and a

16:26:19   11   business plan, correct?

16:26:29   12   A.      Probably.

16:26:31   13   Q.      And when you received this, you had only met Yuri

16:26:37   14   Vanetik one time in person, correct?

16:26:49   15   A.      I do not remember.

16:26:51   16   Q.      Did you --

16:26:54   17   A.      No, not once.     I think -- I think possibly twice, but

16:27:03   18   I don't recall exactly.      I believe we met in London one more

16:27:08   19   time.

16:27:09   20   Q.      And BEM Global based on this invoice paid Odyssey or

16:27:20   21   wired Odyssey the $200,000, correct?

16:27:33   22   A.      Yes, yes.

16:27:34   23   Q.      Did you ever have any conversation with Yuri Vanetik

16:27:40   24   regarding the language under the description in the

16:27:47   25   invoice -- on the invoice?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 64 of 81 Page ID #:512

                                                                                     64


16:27:56    1   A.      No.   This invoice, he sent directly to my management.

16:28:07    2   I didn't see it.

16:28:07    3   Q.      When was the first time you ever saw it?

16:28:18    4   A.      I do not remember.

16:28:20    5   Q.      How was it determined that BEM Global would pay

16:28:27    6   Odyssey the $200,000 for the alleged inauguration program?

16:28:34    7   A.      Yuri Vanetik asked me to pay to this company for the

16:28:57    8   inauguration events.      He explained to me that you couldn't

16:29:20    9   buy these -- such tickets directly, that they are given to

16:29:24   10   certain people who then later are able to sell them if they

16:29:33   11   want.

16:29:33   12   Q.      And still staying with Exhibit 2, this invoice had

16:29:36   13   nothing to do with consulting work that was performed by

16:29:40   14   Odyssey Management.     Is that accurate?

16:29:54   15   A.      I -- all I know is that Vanetik sent this invoice to

16:30:10   16   my employee, saying that I should pay for the inauguration

16:30:16   17   tickets, and that's what I did.

16:30:18   18   Q.      Mr. Fuks, we looked at Exhibit 1 before, and that was

16:30:28   19   a series of WhatsApp messages allegedly between you and Mr.

16:30:45   20   Vanetik.    Is it your position that Exhibit 1 is the entire --

16:30:50   21   represents your entire written communication on WhatsApp

16:30:54   22   between you and Mr. Vanetik?

16:31:12   23   A.      I'm not prepared to answer that question, whether it's

16:31:20   24   really all of them.

16:31:21   25   Q.      Why would you not know if it was all your WhatsApp
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 65 of 81 Page ID #:513

                                                                                       65


16:31:26    1   messages with Mr. Vanetik?

16:31:33    2   A.        I don't remember.

16:31:35    3   Q.        Did you ever communicate with Mr. Vanetik through

16:31:45    4   Signal?

16:31:50    5   A.        No.   I don't think I had it even.

16:31:55    6   Q.        Did you ever communicate with Mr. Vanetik through

16:32:02    7   Telegram?

16:32:09    8   A.        I don't remember, but I don't think so.

16:32:12    9   Q.        Did you ever communicate with Mr. Vanetik through

16:32:18   10   e-mail?

16:32:27   11   A.        I don't think so.

16:32:28   12   Q.        I believe you testified earlier you demanded Mr.

16:32:38   13   Vanetik to pay your money back.       When did that occur?      Just

16:32:41   14   give me an approximation.

16:32:58   15   A.        Right away, during those days.     When he was not able

16:33:08   16   to offer me any of the services, then I asked -- I said to

16:33:12   17   Yuri he should refund the money.

16:33:14   18   Q.        And isn't it accurate that you requested him pay the

16:33:18   19   money to an account in Switzerland?

16:33:32   20   A.        What money?

16:33:34   21   Q.        When you demanded the money --

16:33:34   22                       Strike that.

16:33:39   23                       When you demanded Mr. Vanetik return the

16:33:43   24   money, the $200,000 to you, did you demand that he wire the

16:33:50   25   money into an account in Switzerland?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 66 of 81 Page ID #:514

                                                                                     66


16:34:03    1   A.       No.   I simply asked that -- him to return it.        We did

16:34:10    2   not discuss the -- exactly where to.

16:34:18    3   Q.       Mr. Fuks, I'm going to put Exhibit 10 that your

16:34:25    4   counsel just showed you, which was the Odyssey Pavlo Fuks'

16:34:31    5   Confidential Consulting Agreement.

16:34:36    6                  MR. HAMILTON:   Your Honor, may I --

16:34:39    7                  THE COURT:   Yes, go ahead.

16:34:39    8                  MR. LOMAS:   While Mr. Hamilton is doing that, I'll

16:34:55    9   just object to the characterization of it as an agreement.            I

16:34:56   10   mean, obviously it states the words that he said at the top

16:35:06   11   but --

16:35:07   12                  THE COURT:   All right, the objection is overruled.

16:35:08   13                       Go ahead and ask the question, Counsel.

16:35:13   14   BY MR. HAMILTON:

16:35:13   15   Q.       Mr. Fuks, regarding the Exhibit 10, did you ever have

16:35:18   16   any conversations with Mr. Vanetik about this consulting

16:35:24   17   agreement?

16:35:35   18   A.       No.

16:35:35   19   Q.       And if you look at paragraph 1.3.

16:35:45   20                       Let me approach my computer?

16:35:47   21                  THE COURT:   Yes.   You can just go ahead and do

16:35:49   22   that, Counsel.     You don't need to ask me.

16:35:53   23                  MR. HAMILTON:   Thank you.

16:36:11   24   BY MR. HAMILTON:

16:36:12   25   Q.       Can you see where it says:      1.3, compensation, Mr.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 67 of 81 Page ID #:515

                                                                                     67


16:36:17    1   Fuks.

16:36:25    2   A.      I do see 1.3, but it's hard to see what it actually

16:36:30    3   says.

16:36:31    4   Q.      Isn't it accurate that the payment from BEM Global to

16:36:38    5   Odyssey consulting for $200,000 was actually $200,000 of the

16:36:43    6   money discussed under 1.3 of Exhibit 10?

16:37:03    7   A.      I do not know.     As I've stated earlier, I only saw

16:37:14    8   this document in the course of this trial.

16:37:17    9   Q.      Have you --

16:37:31   10                      Strike that.

16:37:31   11                THE COURT:    Let me just clarify with the

16:37:33   12   interpreter.    The witness said "in the course of this trial";

16:37:39   13   is that right?

16:37:39   14                THE INTERPRETER:     Yes.

16:37:42   15                THE COURT:    All right, thank you.

16:37:48   16   BY MR. HAMILTON:

16:37:48   17   Q.      Mr. Fuks, isn't it accurate that Odyssey was hired to

16:38:02   18   do consulting services for Gennady Kernes, G-E-N-N-A-D-Y

16:38:12   19   K-E-R-N-E-S, in this agreement, meaning Exhibit 10, reflects

16:38:14   20   the understanding?

16:38:34   21   A.      I have already answered that I only saw this document

16:38:49   22   during this lawsuit, and I do not know anything about it.

16:38:59   23   It has a signature on it that is not mine.         I don't know who

16:39:04   24   put it there.

16:39:04   25   Q.      But did Odyssey consult -- ever do any consulting work
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 68 of 81 Page ID #:516

                                                                                     68


16:39:12    1   for Gennady Kernes for your knowledge?

16:39:26    2   A.        No, that is not known to me.

16:39:37    3   Q.        And who was Gennady Kernes?

16:39:47    4   A.        The mayor of the City of Kharkiv.

16:39:49    5   Q.        And isn't it accurate that you met Yuri Vanetik

16:40:00    6   through him?

16:40:03    7   A.        Yes, he asked me to be present with a meeting with

16:40:06    8   Yuri.

16:40:07    9   Q.        And what was discussed in the meeting with Mr.

16:40:16   10   Vanetik?

16:40:16   11   A.        There were some services that Mr. Vanetik promised to

16:40:28   12   render to Mr. Kernes in the United States.         I do not recall

16:40:34   13   the exact details.

16:40:35   14   Q.        To your knowledge was there ever an agreement drafted?

16:40:46   15   A.        That is not known to me.

16:40:48   16   Q.        Isn't it accurate that you, Mr. Fuks, never personally

16:41:04   17   entered in any written agreements with Mr. Vanetik for any

16:41:09   18   type of work?

16:41:24   19   A.        I personally did not.

16:41:26   20   Q.        Mr. Fuks, I'm going to have you look at Exhibit 13

16:41:38   21   now.    Wait one second.    I'll get it up on the screen for you,

16:41:41   22   please.

16:42:30   23                      Mr. Fuks can you see the part of Exhibit 13,

16:42:33   24   staring March 20, 2016.

16:42:42   25   A.        Yes.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 69 of 81 Page ID #:517

                                                                                     69


16:42:43    1   Q.      Do you remember chatting with Mr. Vanetik at

16:42:49    2   approximately this time period, March 20, 2016?

16:43:06    3   A.      When we met, yes.

16:43:08    4   Q.      Okay.   And does this reflect what --

16:43:15    5                      Were you chatting here on March 20, 2016 in

16:43:19    6   WhatsApp?

16:43:20    7   A.      I don't remember.     Probably.

16:43:33    8   Q.      Could it have been some other service such as Signal?

16:43:43    9   A.      No, I believe we only used WhatsApp.

16:43:56   10   Q.      Do you see right underneath where Mr. Vanetik

16:44:00   11   apparently says, quote:      "Hi Pavel" -- on March 20, 2016 --

16:44:08   12   "High Pavel, engagement K was e-mailed to the Gmail address

16:44:13   13   you provided.    Yuri."

16:44:15   14                      Do you see that?

16:44:40   15   A.      Yes, I remember that this was correspondence between

16:44:56   16   Mr. Vanetik and Gennady.      Because -- because Gennady doesn't

16:45:13   17   have his own e-mail.      He said he was going to provide the

16:45:17   18   address of his assistant, and her name is Olga either

16:45:21   19   Kilianco (phonetically spelled) or Kilion (phonetically

16:45:23   20   spelled) I'm not sure, and Gennady asked to that -- this,

16:45:37   21   that this be sent to Yuri, to his assistant.         So, I sent it.

16:45:44   22   Q.      And what was the engagement contract about?

16:45:48   23   A.      I have no idea.

16:45:55   24   Q.      And it wasn't the engagement contract that we looked

16:45:59   25   in Exhibit 10, regarding the Odyssey consulting agreement?
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 70 of 81 Page ID #:518

                                                                                     70


16:46:16    1   A.      I have no idea.     I've never seen any agreement between

16:46:33    2   Gennady and Olga Kilianka (phonetically spelled) and Yuri.

16:46:39    3   Only Gennady and Olga would have seen it.

16:46:43    4   Q.      Did you meet Mr. Vanetik one time in Rome?

16:46:58    5                  THE INTERPRETER:   I'm sorry, I'm not sure I got

16:47:00    6   all your question.

16:47:02    7   BY MR. HAMILTON:

16:47:03    8   Q.      I asked --

16:47:04    9                       Mr. Fuks, did you meet Mr. Vanetik one time

16:47:07   10   in Rome?

16:47:16   11   A.      I think possibly two.      I don't recall exactly, but it

16:47:21   12   could be two.

16:47:21   13   Q.      Let's start with the first meeting.        Did you fly to

16:47:25   14   Rome?

16:47:32   15   A.      Yes.

16:47:32   16   Q.      What was the purpose of the first meeting with Mr.

16:47:37   17   Vanetik in Rome?

16:47:43   18   A.      My friend Gennady Kernes asked me to take him there in

16:48:05   19   my plane, because he was handicapped, it was hard for him to

16:48:12   20   move around, so, I did that.

16:48:13   21   Q.      Did he tell you why he wanted to meet Yuri Vanetik?

16:48:31   22   A.      Yes, he said that Yuri was an American lobbyist who

16:48:39   23   was friendly with all kinds of people, and he could help him.

16:48:46   24                  THE COURT:   Counsel, we need to take the end of

16:48:48   25   day recess.     I'm sorry to interrupt your examination.
       Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 71 of 81 Page ID #:519

                                                                                     71


16:48:51    1                MR. HAMILTON:    That's fine.

16:48:53    2                THE COURT:    Due to logistical challenges faced by

16:48:56    3   others, we have to break a little bit before 5:00.

16:48:59    4                      So, we're going to go ahead and take our

16:49:02    5   afternoon/evening recess for today.        So, we'll resume

16:49:07    6   tomorrow at 8:30 in the morning.

16:49:10    7                      Anything I need to address with counsel

16:49:12    8   before that?

16:49:13    9                MR. HAMILTON:    No, Your Honor.

16:49:13   10                MR. LOMAS:    No, Your Honor.

16:49:15   11                THE COURT:    Okay, very well, then we'll be in

16:49:17   12   recess until tomorrow morning 8:30 a.m.

16:49:21   13                      Thank you, Counsel.

16:49:31   14                COURT CLERK:    This Court now stands adjourned.

16:49:34   15                (Proceedings concluded.)

16:49:37   16                (Court adjourned.)

           17

           18

           19

           20

           21

           22

           23

           24

           25
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 72 of 81 Page ID #:520

                                                                              72


   1                            C E R T I F I C A T E

   2     I hereby certify that the foregoing is a true and correct

   3     transcript of the stenographically recorded proceedings in

   4     the above matter.

   5     Fees charged for this transcript, less any circuit fee

   6     reduction and/or deposit, are in conformance with the

   7     regulations of the judicial conference of the united states.

   8

   9

  10     /S/Anne Kielwasser
                                                     10/16/2021
  11     Anne Kielwasser, CSR, RPR                  Date
         Official Court Reporter
  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 73 of 81 Page ID #:521

                                                                                                                                           1

               $               1:30 [2] - 1:18, 4:1       59 [1] - 3:5               activity [2] - 15:23,      alleged [1] - 64:6
                                                          5:00 [1] - 71:3             16:1                      allegedly [1] - 64:19
                                           2                                         actual [5] - 8:8, 38:15,   allow [4] - 16:22, 17:3,
   $20,000 [2] - 55:3,
                                                                        6             39:17, 40:5, 41:3          29:12, 60:14
    55:4                                                                             add [4] - 17:18, 17:19,    allowed [2] - 45:4,
   $200,000 [21] - 6:6,        2 [17] - 3:9, 34:20,                                   17:21, 18:16               60:13
    6:9, 6:13, 8:3, 8:16,       34:21, 34:25, 35:3,       6 [1] - 3:3                addition [1] - 39:23       allows [1] - 22:18
    10:23, 31:5, 33:13,         38:3, 38:6, 38:8,
                                                                                     additional [2] - 33:9,     American [1] - 70:22
    33:24, 34:9, 34:17,         60:16, 61:11, 62:20,                    7             39:24                     amount [2] - 61:6,
    36:20, 37:21, 49:24,        62:23, 63:6, 63:7,
                                                                                     address [13] - 4:23,        63:4
    54:18, 61:6, 63:21,         64:12
                                                          7 [1] - 3:4                 35:7, 35:9, 35:15,        amplification [1] -
    64:6, 65:24, 67:5          20 [5] - 31:13, 68:24,
                                                          700 [3] - 2:5, 2:6, 2:16    35:16, 35:20, 35:23,       12:18
                                69:2, 69:5, 69:11
                                                          7:10 [1] - 24:14            35:24, 36:2, 52:16,       amplify [1] - 62:3
               /               20001 [1] - 2:6
                                                          7:47 [1] - 40:17            69:12, 69:18, 71:7        analysis [2] - 36:17,
                               2016 [20] - 9:17, 10:13,
                                                          7th [1] - 2:10             addresses [1] - 35:22       63:10
                                14:22, 21:8, 24:5,
   /S/Anne [1] - 72:10                                                               addressing [1] - 5:19      Angeles [3] - 1:17,
                                26:15, 26:24, 29:24,
                                                                                     adjourned [2] - 71:14,      2:11, 2:17
                                31:22, 33:21, 37:5,                     8             71:16                     angry [1] - 46:23
               1                39:2, 39:9, 43:8,
                                                                                     adjust [1] - 42:18         ANNE [1] - 1:23
                                44:5, 63:1, 68:24,
                                                          8 [1] - 43:7               admission [2] - 21:21,     Anne [1] - 72:11
                                69:2, 69:5, 69:11
   1 [31] - 3:8, 4:5, 18:20,                              8:30 [2] - 71:6, 71:12      38:3                      anne.kielwasser@
                               2017 [9] - 6:7, 26:20,
    18:21, 18:23, 19:18,                                                             admitted [3] - 29:13,       gmail.com [1] - 1:25
                                26:24, 40:14, 40:17,
    19:21, 19:24, 20:4,
                                42:5, 51:5, 52:20,                      9             38:6                      answer [2] - 45:16,
    20:12, 20:15, 20:17,                                                             advance [1] - 41:3          64:23
                                59:15
    21:4, 21:14, 21:18,                                                              AENLLE [1] - 1:4           answered [1] - 67:21
                               2019 [1] - 59:25           9 [2] - 51:5, 52:20
    21:21, 23:23, 24:3,                                                              AENLLE-ROCHA [1] -         anyway [1] - 41:12
                               202-220-8049 [1] - 2:7     90017 [1] - 2:11
    26:10, 26:22, 27:11,                                                              1:4                       apologies [3] - 32:2,
    29:15, 39:1, 40:13,        202-637-3593 [1] - 2:7     90045 [1] - 2:17
                                                                                     affirm [1] - 13:5           42:24, 62:6
    42:2, 43:7, 51:3,          2021 [2] - 1:17, 4:1
                                                                                     affirmatively [1] - 4:20   apologize [2] - 29:22,
    52:19, 58:16, 64:18,       20th [2] - 9:14, 41:6                    A            aftermath [1] - 47:8        31:25
    64:20                      21 [2] - 1:17, 4:1
                                                                                     afternoon [3] - 4:9,       app [3] - 16:23, 22:18,
   1.3 [4] - 66:19, 66:25,     22 [2] - 31:13, 31:14
                                                          a.m [2] - 40:22, 71:12      4:12, 4:15                 24:24
    67:2, 67:6                 27 [1] - 40:12
                                                          ability [1] - 27:5         afternoon/evening [1]      appear [1] - 28:10
   10 [8] - 26:20, 26:24,      28 [3] - 9:12, 51:4,
                                                          able [9] - 18:25, 20:14,    - 71:5                    appearance [1] -
    56:23, 66:3, 66:15,         52:19
                                                           23:13, 26:5, 45:21,       afterwards [1] - 36:2       12:22
    67:6, 67:19, 69:25         29 [4] - 3:8, 28:18,
                                                           46:9, 64:10, 65:15        aggregation [1] -          appearances [1] - 4:7
   10-05-17 [1] - 26:19         39:2, 52:21
                                                          accepted [2] - 11:5,        52:24                     application [2] -
   10/16/2021 [1] - 72:10                                                            agree [2] - 9:5, 63:6       16:17, 16:19
                                                           11:11
   100,000 [1] - 33:1                      3              access [6] - 6:12,         agreed [2] - 9:24,         applied [3] - 59:16,
   104 [1] - 29:13                                                                    10:22                      59:21, 59:24
                                                           6:14, 6:20, 7:1,
   1055 [1] - 2:10             3 [7] - 3:9, 37:11,                                   agreement [24] - 6:6,      apply [2] - 59:19,
                                                           32:14, 47:18
   12 [2] - 41:25, 42:2         37:12, 37:14, 38:3,                                   6:19, 8:11, 9:13,          59:23
                                                          accordance [1] - 6:10
   13 [4] - 3:4, 3:5, 68:20,    38:6, 38:8                                            23:8, 50:17, 51:14,       appointed [2] - 9:1,
                                                          account [4] - 34:10,
    68:23                      30 [3] - 39:9, 43:8,                                   51:16, 55:14, 55:17,       30:5
                                                           37:25, 65:19, 65:25
   14 [2] - 27:11, 28:9         44:5                                                  55:20, 55:23, 56:6,       approach [2] - 60:20,
                                                          accuracy [1] - 23:9
   15 [2] - 28:18, 40:13       301247 [1] - 12:25                                     56:10, 56:12, 56:16,       66:20
                                                          accurate [9] - 59:11,
   15-minute [1] - 48:1        33rd [1] - 2:11             60:4, 61:8, 64:14,         57:5, 57:7, 66:9,         approximation [1] -
   16 [2] - 28:18, 39:2        350,000 [1] - 40:3          65:18, 67:4, 67:17,        66:17, 67:19, 68:14,       65:14
   17 [4] - 31:22, 40:13,      38 [1] - 3:9                68:5, 68:16                69:25, 70:1               area [1] - 28:4
    40:17, 42:5                                           acknowledged [1] -         Agreement [2] -            arrange [2] - 10:17,
   17th [1] - 40:25                                                                   56:25, 66:5
   18 [1] - 26:24
                                           4               7:5                                                   10:19
                                                          acquaintance [1] -         agreements [3] -           arrangements [1] -
   18.03.16 [1] - 24:3                                     55:7                       11:23, 53:17, 68:17        7:25
   18th [2] - 24:5, 26:15      424-419-4028 [1] -                                    ahead [11] - 25:9,         arrival [1] - 32:8
                                                          acquaintances [1] -
   19 [1] - 33:21               2:17                                                  27:15, 47:25, 48:11,      arrive [1] - 41:7
                                                           21:11
   19-1212 [2] - 1:10, 4:5                                acquainted [1] - 45:9       59:5, 60:22, 62:16,       arrived [7] - 11:11,
   19:10:51 [1] - 24:10                    5              acted [1] - 9:25            66:7, 66:13, 66:21,        11:14, 41:4, 41:17,
   19th [3] - 40:25, 41:2,                                action [2] - 8:8, 12:4      71:4                       44:16, 44:25, 47:1
    63:1                                                  active [1] - 9:21          airfare [1] - 55:6         arriving [2] - 42:7,
                               5757 [1] - 2:16
   1:00 [3] - 40:22, 40:23                                                           ALL [1] - 4:20              45:16
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 74 of 81 Page ID #:522

                                                                                                                                        2

   Ashby [3] - 2:9, 4:10,     BEM [27] - 8:3, 8:4,                                  44:11                     conference [3] - 6:18,
                                                                    C
    4:11                       8:5, 8:7, 8:17, 10:25,                              City [6] - 14:16, 15:18,    12:12, 72:7
   ashby [1] - 2:10            37:25, 53:25, 54:2,                                  15:19, 15:25, 16:7,       Confidential [2] -
   Aspen [1] - 11:17           54:3, 54:5, 54:8,         CA [2] - 2:11, 2:17        68:4                       56:24, 66:5
   assassinate [1] - 9:22      54:13, 54:20, 55:20,      cabinet [1] - 43:12       claimed [1] - 52:12        confidentiality [2] -
   assembled [1] - 48:10       55:23, 56:12, 56:15,      CALIFORNIA [2] - 1:2,     clarify [6] - 22:13,        51:14, 51:16
   assigned [1] - 49:20        58:10, 58:13, 61:4,        1:25                      22:24, 23:4, 27:13,       confirm [1] - 29:6
   assist [1] - 16:12          62:11, 63:3, 63:20,       California [3] - 1:17,     52:8, 67:11               confirmation [1] -
   assistant [3] - 16:11,      64:5, 67:4                 9:2, 12:24               clarifying [1] - 28:20      37:4
    69:18, 69:21              bench [1] - 4:17           Capital [1] - 47:10       clear [2] - 5:14, 60:17    confirmed [1] - 33:8
   associated [1] - 11:9      Bernardino [1] - 8:25      car [4] - 45:8, 45:11,    clearer [2] - 60:21,       conformance [1] -
   association [1] -          best [5] - 32:14, 32:17,    45:14, 46:3               60:25                      72:6
    50:17                      32:20, 32:25, 34:14       carefully [1] - 62:21     clearly [2] - 12:18,       congressman [1] -
   attachment [1] - 34:23     better [1] - 19:3          carpet [4] - 30:21,        23:25                      45:9
   attend [1] - 47:14         between [9] - 8:11,         30:25, 42:10, 42:13      CLERK [7] - 4:5, 13:4,     congressman's [1] -
   attended [1] - 11:14        8:15, 22:16, 30:23,       case [14] - 6:4, 7:8,      13:10, 13:13, 19:13,       46:3
   attending [2] - 30:16,      42:20, 64:19, 64:22,       7:16, 7:17, 8:7, 8:15,    48:4, 71:14               congressmen [1] -
    30:17                      69:15, 70:1                8:16, 9:4, 9:5, 13:6,    client [3] - 9:15, 12:3,    45:3
   attorney [1] - 8:24        big [2] - 43:1, 44:10       17:25, 18:14, 18:17,      22:5                      connect [1] - 16:11
   attorneys [10] - 17:24,    bigger [1] - 19:4           20:18                    cocktails [1] - 44:15      connection [1] - 11:10
    18:3, 18:6, 18:11,        bill [1] - 10:21           causes [1] - 12:4         collect [1] - 7:18         consideration [1] -
    18:14, 18:17, 34:7,       bills [2] - 10:8, 49:22    CDC [1] - 5:16            collecting [1] - 10:4       27:9
    49:20, 52:17, 63:5        bit [3] - 19:4, 21:2,      celebrating [1] - 44:14   colon [2] - 25:12,         consistent [1] - 22:17
   authentication [2] -        71:3                      CENTRAL [2] - 1:2,         25:14                     constantly [1] - 39:19
    21:23, 29:3               Black [1] - 44:17           1:25                     coming [3] - 30:14,        consult [1] - 67:25
   authenticity [1] -         blaming [1] - 52:4         Century [1] - 2:16         40:9, 55:7                Consulting [2] -
    22:10                     Boots [1] - 44:17          ceremony [1] - 44:2       comma [2] - 24:7,           56:25, 66:5
   authorize [1] - 57:18      born [1] - 14:15           certain [2] - 47:2,        24:9                      consulting [16] - 7:19,
   available [1] - 38:25      bottom [3] - 20:20,         64:10                    comments [1] - 30:11        7:22, 8:11, 8:21,
   avoid [1] - 52:24           21:2, 52:20               certificate [1] - 28:17   Commissioner [2] -          9:13, 55:14, 55:17,
   aware [1] - 58:1           Boulevard [1] - 2:16       Certification [1] -        9:2, 9:3                   55:20, 55:23, 57:4,
                              bound [1] - 9:23            12:25                    communicate [5] -           64:13, 66:16, 67:5,
                              breached [1] - 12:3        certified [1] - 12:23      16:10, 16:14, 65:3,        67:18, 67:25, 69:25
              B                                          certify [1] - 72:2
                              break [4] - 47:23,                                    65:6, 65:9                contact [5] - 25:25,
                               48:2, 48:15, 71:3         chair [1] - 12:15         communicated [2] -          26:5, 45:13, 46:21,
   ball [7] - 32:11, 43:24,   bridge [1] - 46:8          challenges [1] - 71:2      16:15, 21:9                52:11
    47:14, 47:19, 48:17,      brief [1] - 6:3            challenging [3] - 22:1,   communication [1] -        contacts [1] - 10:20
    48:18, 48:22              bring [3] - 10:14,          22:2, 22:9                64:21                     contain [1] - 26:22
   balls [1] - 30:21           34:20, 46:3               change [6] - 17:12,       communications [1] -       context [1] - 29:9
   ban [3] - 59:12, 60:2,     bringing [1] - 37:10        18:2, 18:5, 18:10,        22:14                     continue [5] - 5:17,
    60:5                      British [2] - 61:19,        22:22, 34:13             companies [4] - 38:1,       5:21, 48:1, 48:7,
   bank [1] - 37:17            62:1                      changed [2] - 34:12,       52:11, 52:17, 61:23        48:11
   banned [1] - 60:11         broken [1] - 23:16          39:19                    company [8] - 7:22,        contract [8] - 7:19,
   banquet [1] - 41:24        building [2] - 47:5,       characterization [1] -     10:25, 11:6, 11:7,         7:20, 7:21, 8:12,
   bar [3] - 46:12, 46:14,     47:6                       66:9                      54:2, 61:15, 61:25,        8:22, 10:1, 69:22,
    46:17                     business [7] - 7:17,       characters [1] - 37:12     64:7                       69:24
   base [1] - 10:13            9:10, 11:10, 36:17,       charged [1] - 72:5        Company [2] - 33:14,       contracted [1] - 11:19
   based [2] - 7:20, 63:20     56:1, 61:15, 63:11        chatting [2] - 69:1,       34:16                     contracts [3] - 8:14,
   beat [1] - 25:6            butterfly [1] - 47:19       69:5                     compensation [1] -          11:22, 50:21
   beautiful [1] - 47:10      buy [1] - 64:9             cheated [10] - 42:14,      66:25                     convenient [2] -
   become [1] - 31:7          BY [30] - 3:3, 3:4, 3:5,    43:13, 49:7, 49:15,      complaint [2] - 12:4,       16:17, 62:2
   beer [1] - 46:12            3:5, 6:1, 7:15, 13:18,     50:4, 50:5, 50:7,         12:5                      conversation [2] -
   beforehand [1] -            15:10, 15:14, 19:17,       50:8, 50:10, 52:12       completely [1] - 7:23       22:14, 63:23
    59:22                      21:16, 23:22, 24:18,      check [1] - 20:22         complying [1] - 5:15       conversations [1] -
   begin [1] - 4:17            25:10, 27:17, 29:16,      chronologically [1] -     computer [2] - 29:7,        66:16
   beginning [1] - 35:18       31:17, 32:16, 38:9,        23:16                     66:20                     copies [2] - 33:11,
   begins [1] - 26:18          43:5, 48:14, 49:10,       circuit [1] - 72:5        concerning [2] -            49:22
   BEHALF [2] - 2:3, 2:14      58:5, 59:7, 60:24,        citizen [2] - 14:11,       38:22, 53:17              copy [6] - 19:18,
   behalf [4] - 4:11, 54:6,    62:19, 66:14, 66:24,       14:13                    concert [1] - 43:18         19:21, 19:24, 20:17,
    54:17, 57:8                67:16, 70:7               city [3] - 9:8, 15:6,     concluded [1] - 71:15       53:20, 53:23
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 75 of 81 Page ID #:523

                                                                                                                                         3

   Corp [3] - 37:25, 61:14    23:12, 23:18, 27:5        DEFENDANT [1] -            Donald [1] - 29:24          64:20, 64:21
   correct [13] - 21:6,      courthouse [1] - 5:15       2:14                      done [4] - 16:3, 36:19,    entity [3] - 8:3, 34:14,
    32:1, 48:3, 60:9,        courtroom [3] - 4:14,      defendant's [2] -           36:24, 39:6                37:19
    61:4, 61:6, 61:9,         12:17, 12:19               56:19, 56:22              down [5] - 25:19,          estate [4] - 61:18,
    61:12, 63:8, 63:11,      cover [1] - 20:5           DEFENSE [2] - 3:4,          27:11, 35:12, 35:13,       61:19, 61:22, 62:1
    63:14, 63:21, 72:2       coworker [1] - 35:25        7:15                       40:16                     estimate [1] - 62:25
   correspondence [2] -      coworkers [1] - 35:22      defense [1] - 59:2         downloaded [2] -           Europe [1] - 51:1
    20:16, 69:15             crazy [1] - 31:8           deficient [1] - 21:24       21:1, 29:6                evening [7] - 13:19,
   cost [6] - 31:2, 31:5,    Criminal [1] - 9:3         definitely [1] - 39:16     dpapvlov@consus             13:20, 47:15, 48:19,
    33:1, 40:3, 55:1,        criminal [1] - 9:20        degree [1] - 16:13          [1] - 35:16                48:22, 59:8, 59:10
    55:8                     CROSS [2] - 3:5, 59:6      delete [2] - 17:15,        dpapvlov@consus-           event [10] - 41:23,
   Counsel [9] - 4:7,        cross [1] - 59:3            18:13                      group.ru [1] - 35:16       42:9, 42:10, 42:13,
    12:9, 13:14, 31:12,      CROSS-                     deliver [1] - 11:19        drafted [1] - 68:14         44:10, 44:13, 44:17,
    48:11, 62:8, 66:13,       EXAMINATION [2] -         demand [1] - 65:24         drank [1] - 46:12           44:18, 44:20, 44:24
    66:22, 71:13              3:5, 59:6                 demanded [3] - 65:12,      due [2] - 36:17, 71:2      events [35] - 6:13,
   counsel [11] - 7:10,      cross-examination [1]       65:21, 65:23              during [6] - 5:14, 8:23,    6:20, 7:2, 11:14,
    9:6, 20:18, 22:13,        - 59:3                    Demitri [1] - 35:25         11:14, 45:6, 65:15,        30:21, 30:23, 30:25,
    29:18, 42:16, 48:9,      crowds [1] - 47:3          Department [1] - 9:1        67:22                      31:1, 31:4, 32:7,
    60:17, 66:4, 70:24,      CRR [1] - 1:23             deposit [1] - 72:6                                     32:12, 38:14, 38:16,
    71:7                     CSR [2] - 1:23, 72:11      described [1] - 8:20                  E                38:19, 38:23, 39:7,
   countries [1] - 60:12     CV [2] - 1:10, 4:5         description [3] -                                      39:10, 39:14, 39:18,
   country [1] - 14:13                                   36:16, 63:7, 63:24                                    39:23, 40:1, 40:6,
   couple [4] - 10:14,                                                             e-mail [16] - 2:8, 2:18,    41:9, 43:8, 43:9,
    25:7, 27:13, 45:3
                                        D               details [3] - 38:22,
                                                                                    29:19, 34:22, 35:7,        44:4, 44:7, 44:21,
                                                         63:5, 68:13
   course [13] - 16:24,                                                             35:9, 35:15, 35:16,        52:13, 53:9, 53:10,
                                                        determined [1] - 64:5
    17:2, 17:5, 20:16,       D.C [6] - 40:9, 41:4,                                  35:20, 35:23, 35:24,       53:13, 53:17, 64:8
                                                        development [1] -
    25:1, 32:5, 39:16,        42:7, 54:24, 55:1,                                    36:2, 39:14, 65:10,       eventually [2] - 39:8,
                                                         36:17
    42:23, 49:25, 54:25,      55:9                                                  69:17                      47:21
                                                        difference [1] - 30:22
    59:18, 67:8, 67:12       data [19] - 17:4, 17:10,                              e-mailed [1] - 69:12       Eversheds [2] - 2:5,
                                                        diligence [1] - 36:17
   COURT [71] - 1:1,          17:13, 17:16, 17:19,                                 eaten [1] - 47:9            4:10
                                                        dinner [5] - 32:8, 41:9,
    1:16, 1:24, 4:3, 4:5,     17:22, 17:24, 18:2,                                  edit [1] - 22:22           evidence [17] - 3:8,
                                                         41:24, 43:12, 45:5
    4:15, 4:21, 5:3, 7:10,    18:5, 18:10, 18:13,                                  either [5] - 14:22,         3:9, 7:21, 8:5, 8:23,
                                                        DIRECT [2] - 3:5,
    7:13, 12:9, 12:16,        18:16, 20:17, 22:18,                                  18:25, 23:3, 29:19,        9:17, 10:12, 10:18,
                                                         13:17
    13:1, 13:4, 13:10,        22:19, 24:21, 29:9,                                   69:18                      11:4, 11:21, 12:3,
                                                        direction [1] - 47:3
    13:13, 13:14, 15:6,       29:10, 29:17                                         election [3] - 21:8,        12:6, 21:21, 29:12,
                                                        directly [2] - 64:1,
    15:9, 19:13, 19:15,      Date [1] - 72:11                                       29:25, 30:3                29:15, 38:8, 60:22
                                                         64:9
    21:24, 22:4, 22:7,       date [9] - 20:2, 24:7,                                embarrassed [1] -          exact [1] - 68:13
                                                        disappeared [1] -
    22:9, 22:12, 22:20,       26:18, 31:21, 34:6,                                   46:11                     exactly [9] - 26:3,
                                                         47:20
    22:23, 23:1, 23:5,        38:18, 40:8, 40:24,                                  employee [1] - 64:16        29:19, 30:11, 41:17,
                                                        discuss [1] - 66:2
    23:8, 23:12, 24:16,       62:25                                                employees [1] - 62:22       55:4, 61:24, 63:18,
                                                        discussed [6] - 10:24,
    25:5, 25:9, 27:5,        dated [7] - 26:15,                                    encourage [1] - 11:20       66:2, 70:11
                                                         43:7, 57:4, 61:2,
    27:15, 28:5, 28:12,       33:21, 39:2, 40:13,                                  end [5] - 12:2, 19:11,     examination [3] -
                                                         67:6, 68:9
    28:20, 28:22, 29:2,       43:8, 44:5, 51:5                                      26:15, 59:15, 70:24        48:12, 59:3, 70:25
                                                        dispute [1] - 52:3
    29:8, 29:11, 31:12,      dates [5] - 23:15,                                    enemies [1] - 9:22         EXAMINATION [4] -
                                                        DISTRICT [4] - 1:1,
    31:14, 35:11, 38:4,       39:18, 39:20, 40:6,                                  engagement [3] -            3:5, 3:5, 13:17, 59:6
                                                         1:2, 1:24, 1:25
    38:6, 42:16, 42:25,       41:11                                                 69:12, 69:22, 69:24       exception [1] - 5:18
                                                        document [24] - 2:6,
    43:3, 47:22, 47:25,      DAY [2] - 1:16, 4:3                                   English [8] - 27:6,        exchange [4] - 16:23,
                                                         18:23, 18:24, 22:10,
    48:3, 48:4, 48:7,        days [7] - 11:13, 31:6,                                27:12, 27:22, 28:8,        21:7, 42:5, 42:6
                                                         22:24, 23:2, 23:14,
    59:2, 59:5, 60:22,        32:23, 38:21, 40:3,                                   28:15, 28:16, 28:19,      exchanged [6] -
                                                         23:15, 23:16, 24:6,
    62:8, 62:13, 66:7,        41:3, 65:15                                           31:14                      16:25, 26:6, 26:10,
                                                         34:21, 34:24, 35:3,
    66:12, 66:21, 67:11,     deal [3] - 36:7, 44:10,                               enlarge [3] - 18:25,        26:23, 30:11, 53:15
                                                         37:12, 56:23, 57:2,
    67:15, 70:24, 71:2,       63:5                                                  19:1, 19:2                Excuse [1] - 58:21
                                                         57:10, 57:14, 57:16,
    71:11, 71:14             dealings [1] - 9:10                                   enlarged [1] - 21:2        excuse [15] - 16:6,
                                                         57:19, 58:17, 58:22,
   court [2] - 34:8, 42:22   debt [4] - 7:20, 10:5,                                entered [13] - 6:5,         17:7, 17:20, 21:15,
                                                         67:8, 67:21
   Court [13] - 1:24, 5:3,    10:23, 11:21                                          7:21, 11:22, 55:14,        26:23, 27:18, 29:21,
                                                        documentation [4] -
    5:9, 5:19, 11:18,        deceased [1] - 15:1                                    55:17, 55:20, 55:23,       31:25, 35:14, 39:2,
                                                         37:2, 53:6, 53:8,
    11:24, 13:6, 27:8,       December [1] - 59:25                                   56:4, 56:6, 56:9,          39:12, 40:15, 50:20,
                                                         53:12
    48:5, 59:9, 71:14,       defendant [6] - 1:13,                                  56:12, 56:15, 68:17        56:20, 58:9
                                                        documentations [1] -
    71:16, 72:11              4:13, 6:6, 6:20, 8:9,                                entering [1] - 57:4        exhibit [7] - 8:1, 8:10,
                                                         49:22
   Court's [4] - 5:5,         14:19                                                entire [4] - 22:18,         19:7, 19:10, 20:12,
                                                        documents [1] - 20:21
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 76 of 81 Page ID #:524

                                                                                                                                         4

    28:23, 29:12                18:16, 20:17, 20:21,      8:15, 8:22, 9:6, 9:7,      63:20, 64:5, 67:4        highlighting [1] -
   Exhibit [50] - 3:8, 3:9,     20:25, 21:1, 21:4,        9:9, 9:12, 9:15, 9:24,    Gmail [1] - 69:12          31:11
    18:20, 18:21, 18:23,        22:18, 22:19, 24:21,      10:5, 10:7, 10:10,        God [1] - 13:8            himself [2] - 36:25,
    19:18, 19:21, 19:24,        26:16, 27:11, 28:10,      10:13, 10:19, 10:20,      government [1] - 60:1      50:7
    20:4, 20:15, 20:17,         28:11, 29:17              10:22, 11:1, 11:4,        Governor [1] - 9:2        hired [1] - 67:17
    21:4, 21:13, 21:18,       filed [1] - 5:6             11:11, 11:20, 11:22,      gravitating [1] - 42:19   history [2] - 22:15,
    21:21, 23:23, 24:3,       filing [1] - 5:6            11:24, 12:2, 12:12,       great [1] - 5:10           26:22
    26:10, 26:22, 29:15,      FILIPPOVA [1] - 36:1        13:3, 13:12, 13:19,       green [1] - 43:1          hold [1] - 20:3
    34:20, 34:21, 34:25,      finally [1] - 12:5          13:25, 14:11, 15:15,      group [1] - 50:13         holds [1] - 61:23
    35:3, 37:11, 37:12,       financial [1] - 9:25        18:22, 19:6, 19:18,       Group [2] - 11:7,         home [1] - 14:5
    37:14, 38:8, 39:1,        fine [2] - 47:24, 71:1      20:3, 20:20, 21:7,         11:10                    Honor [27] - 4:9, 4:12,
    40:12, 42:2, 43:7,        finish [1] - 49:18          21:17, 22:16, 23:23,      group.ru [1] - 35:16       4:25, 5:1, 6:2, 7:8,
    51:3, 52:19, 56:23,       fireworks [1] - 43:18       24:19, 24:21, 25:11,      guess [1] - 49:11          7:12, 7:16, 8:2, 12:8,
    58:16, 60:16, 61:11,      Firm [2] - 2:10, 4:11       25:19, 25:21, 26:17,      guests [1] - 11:12         12:11, 21:20, 21:22,
    62:23, 63:6, 64:12,       firm [1] - 51:19            26:23, 27:18, 29:6,       guidelines [1] - 5:16      22:11, 27:1, 28:3,
    64:18, 64:20, 66:3,       first [25] - 10:20,         29:17, 29:23, 31:10,                                 29:4, 29:14, 38:2,
    66:15, 67:6, 67:19,         12:10, 14:21, 16:9,       34:9, 34:24, 35:14,                                  38:5, 49:17, 59:4,
    68:20, 68:23, 69:25                                   35:20, 37:10, 38:10,
                                                                                               H
                                24:2, 24:6, 24:9,                                                              60:20, 62:17, 66:6,
   exhibits [5] - 5:8,          25:11, 26:13, 26:14,      38:12, 39:1, 41:25,                                  71:9, 71:10
    8:19, 19:16, 38:3,          27:10, 28:9, 33:14,       42:1, 43:6, 48:15,        Hamilton [9] - 2:15,      honor [1] - 32:9
    60:18                       34:22, 35:9, 35:14,       49:13, 50:6, 51:3,         2:15, 4:13, 29:2,        HONORABLE [1] - 1:4
   EXHIBITS [1] - 3:7           35:23, 36:24, 41:23,      52:8, 52:19, 53:25,        33:14, 34:3, 34:6,       hopefully [2] - 5:4,
   expected [1] - 54:23         45:20, 62:23, 64:3,       56:18, 57:11, 59:8,        34:10, 66:8               18:19
   expensive [1] - 31:8         70:13, 70:16              60:11, 60:15, 60:25,      HAMILTON [29] - 3:5,      host [1] - 11:15
   expert [2] - 29:6, 29:8    five [10] - 11:13, 31:1,    64:18, 66:3, 66:15,        4:12, 4:25, 7:12,        hotel [5] - 44:23, 45:1,
   explain [1] - 50:3           31:6, 31:7, 31:8,         67:1, 67:17, 68:16,        7:14, 7:16, 21:22,        45:2, 46:12, 55:5
   explained [1] - 64:8         32:11, 32:23, 39:23,      68:20, 68:23, 70:9         22:2, 22:5, 22:8,        Hotel [1] - 44:23
   export [5] - 17:3, 17:7,     59:12, 59:22             FUKS [3] - 1:8, 3:4,        22:11, 29:4, 29:10,      hours [1] - 45:1
    17:9, 21:4, 22:18         five-year [1] - 59:12       13:15                      38:5, 59:4, 59:7,        human [2] - 8:13, 11:2
   exported [3] - 22:16,      flip [3] - 19:22, 19:23,   fuks [1] - 12:20            60:20, 60:24, 62:10,
    22:17, 24:21                36:11                    Fuks' [1] - 66:4            62:17, 62:19, 66:6,
                                                         Fuks's [3] - 12:7, 28:6,    66:14, 66:23, 66:24,
                                                                                                                          I
   exporting [3] - 17:13,     Floor [1] - 2:11
    17:16, 17:22              fly [2] - 15:17, 70:13      56:24                      67:16, 70:7, 71:1,
   extension [1] - 36:2                                  full [2] - 13:10, 26:22     71:9                     idea [2] - 69:23, 70:1
                              flying [1] - 40:18
   extra [1] - 39:23                                     fully [1] - 5:21           hand [1] - 13:4           identified [1] - 34:11
                              focus [1] - 20:7
   extras [1] - 39:22                                    function [1] - 17:5        handicapped [1] -         identify [3] - 26:8,
                              focused [1] - 42:17
                                                         funds [4] - 6:22, 6:24,     70:19                      50:9, 50:13
                              followed [1] - 25:14
                                                          58:6                      handling [1] - 9:10       identifying [1] - 39:10
               F              following [1] - 28:18
                                                         future [1] - 23:18         hands [1] - 45:23         ignore [1] - 10:7
                              follows [1] - 27:12
                                                                                    hard [3] - 45:15, 67:2,   ignored [1] - 10:5
                              food [1] - 47:9
   F-U-K-S [1] - 13:12
                              foot [2] - 45:17, 45:18               G                70:19                    IN [1] - 4:20
   faced [1] - 71:2                                                                 head [1] - 4:20           inaugural [10] - 7:17,
                              foregoing [1] - 72:2
   fact [5] - 6:25, 8:6,                                                            heading [2] - 34:22,        11:5, 11:6, 11:19,
                              form [1] - 36:19           Gennady [10] - 9:8,
     8:18, 37:17, 63:10                                                              56:24                      32:10, 43:18, 43:24,
                              forwarded [1] - 37:18       67:18, 68:1, 68:3,
   facts [2] - 9:4, 9:11                                                            hear [10] - 5:23, 6:14,     47:14, 48:18, 48:22
                              foundation [2] - 12:3,      69:16, 69:20, 70:2,
   failed [2] - 6:11, 6:13                                                           6:17, 6:22, 6:25,        inauguration [46] -
                                21:22                     70:3, 70:18
   Fax [1] - 2:7                                                                     7:24, 8:23, 42:22,         6:7, 6:8, 7:23, 8:13,
                              foundationally [1] -       gennady [1] - 15:4
   Federal [1] - 1:24                                                                49:8                       9:15, 10:16, 11:25,
                                28:23                    GENNADY [2] - 15:4,
   fee [1] - 72:5                                                                   heard [6] - 12:18,          12:1, 30:13, 30:16,
                              four [1] - 45:1             67:18
   fees [1] - 72:5                                                                   22:23, 32:1, 34:4,         30:17, 32:4, 32:10,
                              friend [4] - 9:9, 14:25,   GIVEN [1] - 13:16
   FERNANDO [1] - 1:4                                                                34:5, 37:6                 34:18, 36:9, 36:14,
                                15:15, 70:18             given [5] - 6:15, 6:21,
   few [4] - 23:19, 25:13,                                                          help [7] - 9:20, 9:24,      37:22, 38:12, 41:4,
                              friendly [1] - 70:23        11:5, 64:9
     40:3, 59:21                                                                     13:8, 15:18, 27:13,        41:7, 41:11, 41:18,
                              friends [2] - 30:4,        Global [28] - 8:3, 8:4,
   fifty [1] - 33:21                                                                 41:15, 70:23               45:6, 45:10, 45:18,
                                46:11                     8:6, 8:7, 8:17, 10:25,
   fifty-three [1] - 33:21                                                          helpful [1] - 23:17         45:24, 46:2, 46:6,
                              front [4] - 20:1, 25:22,    37:25, 53:25, 54:2,
   figure [1] - 62:10                                                               hereby [1] - 72:2           46:10, 46:13, 46:14,
                                35:6, 58:18               54:3, 54:5, 54:9,
   file [26] - 17:4, 17:10,                                                         Hi [1] - 69:11              47:14, 48:16, 48:17,
                              Fuks [97] - 4:5, 6:5,       54:13, 54:20, 55:20,
     17:13, 17:16, 17:20,                                                           high [1] - 30:5             48:19, 48:23, 53:13,
                                6:9, 6:13, 6:16, 6:17,    55:23, 56:12, 56:15,
     17:22, 17:24, 18:2,                                                            High [1] - 69:12            53:17, 54:23, 54:24,
                                6:24, 6:25, 7:3, 7:5,     58:10, 58:13, 61:4,
     18:5, 18:11, 18:13,                                                            highlighted [1] - 25:13     55:2, 56:5, 63:8,
                                7:18, 7:20, 8:1, 8:11,    61:14, 62:11, 63:3,
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 77 of 81 Page ID #:525

                                                                                                                                         5

     64:6, 64:8, 64:16          63:25, 64:1, 64:12,     Kerness [1] - 15:4           24:9, 25:11, 25:13,       mailed [1] - 69:12
   include [2] - 26:10,         64:15                   Kharkiv [9] - 14:16,         25:19, 25:20, 26:17,      maintained [1] - 28:15
     30:24                    invoices [1] - 63:3        14:17, 15:1, 15:12,         26:18, 31:10, 35:6,       major [1] - 9:7
   included [2] - 21:13,      involved [2] - 36:8,       15:18, 15:20, 15:25,        35:15, 45:19, 62:7        management [1] -
     21:18                      61:16                    16:7, 68:4                lines [4] - 27:6, 27:7,      64:1
   includes [1] - 28:14       Islands [1] - 61:20       Khomutynnik [1] -            27:8, 35:9                Management [26] -
   including [1] - 32:8       Isles [2] - 61:20, 62:1    10:16                     list [2] - 32:11, 39:7       7:22, 8:2, 8:7, 8:8,
   INCOMPREHENSIBL            Israel [1] - 60:13        Khomutynniks [2] -         listed [3] - 39:23, 43:9,    8:15, 8:17, 36:12,
     E) [1] - 35:10           issue [2] - 5:4, 55:12     11:8, 11:16                 44:5                       36:21, 37:6, 37:8,
   increasing [1] - 31:19     issued [1] - 60:2         KIELWASSER [1] -           listing [1] - 43:8           37:21, 54:8, 54:11,
   INDEX [1] - 3:1            issues [2] - 27:2, 63:5    1:23                      LLC [2] - 36:12, 37:6        55:18, 55:24, 56:1,
   indicate [2] - 25:23,      Italy [1] - 9:13          Kielwasser [2] -           LLP [1] - 2:5                56:10, 56:16, 57:5,
     26:1                     Item [1] - 4:5             72:10, 72:11              lobby [1] - 10:20            57:8, 58:6, 58:11,
   indicated [1] - 61:14      items [2] - 36:18, 49:5   Kiev [3] - 14:1, 14:2,     lobbyist [1] - 70:22         60:16, 61:1, 61:3,
   indicates [1] - 37:24      itinerary [1] - 39:17      14:4                      local [2] - 14:9, 25:4       64:14
   individuals [2] -          itself [1] - 32:10        Kilianco [1] - 69:19       located [1] - 62:11         March [11] - 9:12,
     10:15, 52:16             IV [1] - 15:11            Kilianka [1] - 70:2        logistical [1] - 71:2        9:17, 24:5, 26:15,
   indoor [1] - 5:18                                    Kilion [1] - 69:19         logistics [1] - 9:10         26:24, 51:5, 52:20,
                                                        kind [3] - 10:7, 41:24,                                 68:24, 69:2, 69:5,
   info [1] - 25:25                      J                                         Lomas [2] - 4:10, 5:24
                                                                                                                69:11
   information [13] -                                    50:17                     LOMAS [57] - 2:4, 3:5,
     26:4, 33:10, 33:12,                                kinds [3] - 30:21,           4:9, 5:1, 6:2, 12:11,     marked [7] - 18:20,
     33:18, 34:5, 34:15,      j.m.hamilton@              30:25, 70:23                13:18, 15:10, 15:14,       18:23, 34:20, 34:25,
     38:19, 50:21, 51:22,       earthlink.net [1] -     knowledge [4] - 60:4,        19:17, 21:16, 21:20,       37:11, 56:19, 56:22
     52:10, 52:11, 52:14,       2:18                     60:8, 68:1, 68:14           22:15, 22:21, 22:25,      masks [3] - 5:17, 5:20,
     53:16                    January [6] - 6:7,        known [10] - 15:21,          23:3, 23:7, 23:10,         5:22
   inquire [1] - 13:14          9:14, 40:13, 40:17,      15:24, 16:2, 16:4,          23:21, 23:22, 24:18,      matches [1] - 8:21
   inquired [1] - 10:4          42:5                     16:8, 18:7, 54:22,          25:6, 25:10, 27:1,        matter [2] - 4:18, 72:4
   instead [2] - 51:25,       jeep [1] - 47:1            57:17, 68:2, 68:15          27:10, 27:16, 27:17,      maximized [1] - 19:10
     55:11                    jet [1] - 11:16                                        28:3, 28:9, 28:13,        mayor [12] - 9:7, 9:18,
                              JOHN [1] - 2:4                                                                    9:19, 10:1, 10:6,
   instructions [5] -                                              L                 28:21, 28:24, 29:14,
     6:10, 33:15, 33:24,      John [4] - 2:15, 2:15,                                 29:16, 31:13, 31:15,       10:10, 15:1, 15:16,
     34:13, 35:5                4:9, 4:12                                            31:17, 32:15, 32:16,       15:19, 15:22, 16:3,
                              johnlomas@                label [3] - 20:4, 20:5,      35:13, 38:2, 38:7,         68:4
   intending [1] - 30:15
                                eversheds [1] - 2:8       20:6                       38:9, 42:24, 43:1,        Mayor [1] - 11:1
   interest [1] - 34:8
                              johnlomas@                language [4] - 27:7,         43:4, 43:5, 47:24,        mayor's [2] - 9:8, 9:9
   interested [1] - 11:2
                                eversheds-                27:21, 27:25, 63:24        48:13, 48:14, 49:10,      MD [1] - 53:20
   interpreter [6] - 12:13,
                                sutherland.com [1] -    languages [1] - 27:23        58:4, 58:5, 58:25,        MDA [3] - 51:12,
     12:14, 12:16, 42:23,
                                2:8                     laptop [1] - 60:21           62:5, 66:8, 71:10          51:13, 53:23
     48:10, 67:12
                              Joseph [2] - 2:9, 4:10    last [6] - 15:2, 26:17,    London [1] - 63:18          Meadow [7] - 11:6,
   INTERPRETER [8] -
                              JR [1] - 2:4                28:17, 51:4, 57:10,      look [7] - 20:13, 23:23,     11:9, 51:19, 51:20,
     12:23, 13:16, 15:2,
                              JUDGE [1] - 1:4             57:11                      32:11, 47:10, 63:4,        51:23, 54:13, 54:15
     15:12, 21:15, 49:8,
                              judicial [1] - 72:7       late [2] - 10:12, 59:9       66:19, 68:20              mean [5] - 24:4, 26:20,
     67:14, 70:5
                              Justice [1] - 9:3         Law [6] - 2:10, 2:15,      looked [3] - 60:15,          46:19, 62:3, 66:10
   Interpreter [1] - 12:23
                                                          4:11, 34:3, 34:6,          64:18, 69:24              meaning [1] - 67:19
   interpreter's [1] -
                                                          34:10
     12:21                               K              lawsuit [2] - 57:1,
                                                                                   looking [3] - 40:12,        means [2] - 16:20,
   interrupt [1] - 70:25                                                             61:11, 62:20               51:13
                                                          67:22                    Los [3] - 1:17, 2:11,       meet [7] - 14:21,
   introduce [1] - 15:16
                              K-E-R-N-E-S-S [1] -       lawyer [1] - 5:20            2:17                       14:24, 15:17, 40:2,
   introduced [2] - 9:7,
                               15:5                     layout [2] - 23:14, 28:5   Lottery [1] - 9:2            70:4, 70:9, 70:21
     14:25
                              K-H-A-R-I-V [1] -         learn [1] - 11:24          lower [1] - 40:16           meeting [5] - 16:9,
   investigations [1] -
                               15:11                    learned [1] - 10:6                                      68:7, 68:9, 70:13,
     9:21
                              K-H-A-R-K-O-V [1] -       lectern [1] - 42:20
   invitation [2] - 45:23,
                               15:8
                                                                                              M                 70:16
                                                        left [4] - 11:15, 23:2,                                memory [1] - 41:16
     46:1
                              Keelen [2] - 11:7,          47:8, 47:13                                          mention [1] - 63:7
   invitations [1] - 45:20
                               11:10                    Leonid [1] - 12:24         mail [16] - 2:8, 2:18,
   invoice [22] - 8:1,                                                                                         mentioned [5] - 12:5,
                              keep [1] - 43:2           LEONID [1] - 12:24          29:19, 34:22, 35:7,
     8:18, 8:20, 34:17,                                                                                         16:19, 37:21, 48:16,
                              KERNES [1] - 67:19        less [1] - 72:5             35:9, 35:15, 35:16,
     36:12, 36:13, 36:16,                                                                                       50:19
                              Kernes [8] - 9:8, 9:18,   letter [1] - 51:9           35:20, 35:23, 35:24,
     36:21, 37:5, 60:17,                                                                                       merely [1] - 11:20
                               11:2, 67:18, 68:1,       light [1] - 43:1            36:2, 39:14, 65:10,
     61:3, 61:9, 61:12,                                                                                        message [33] - 21:5,
                               68:3, 68:12, 70:18       line [14] - 20:21, 24:2,    69:17
     62:11, 62:20, 63:20,                                                                                       22:15, 24:7, 25:22,
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 78 of 81 Page ID #:526

                                                                                                                                         6

    25:23, 26:14, 30:7,      moreover [1] - 11:21       new [4] - 17:19, 17:21,    OF [4] - 1:2, 1:25, 2:3,   own [2] - 12:1, 69:17
    31:18, 31:21, 33:20,     morning [4] - 45:6,         18:16, 34:5                2:14
    33:23, 34:2, 34:6,        45:8, 71:6, 71:12         next [7] - 11:15, 25:19,   offer [6] - 28:23,                    P
    34:11, 35:4, 39:1,       most [3] - 47:8, 59:24      31:2, 31:5, 38:20,         51:25, 52:3, 52:6,
    39:4, 39:8, 39:9,        move [5] - 21:21, 29:1,     38:21, 42:16               55:11, 65:16
    39:15, 40:13, 40:14,                                night [3] - 42:10,         offered [1] - 10:22        P-A-V-E-L [1] - 13:21
                              38:3, 62:17, 70:20
    40:18, 43:7, 44:5,                                   42:13, 48:17              offering [1] - 27:8        P.C [1] - 2:10
                             moved [1] - 39:20
    51:4, 51:5, 51:7,                                   NO [1] - 1:10              Office [1] - 34:10         p.F [1] - 25:5
                             MR [85] - 3:5, 3:5, 4:9,
    51:9, 51:18, 52:20,       4:12, 4:25, 5:1, 6:2,     nobody [1] - 44:16         office [1] - 47:4          P.F [3] - 25:20, 25:22,
    52:21, 53:21              7:12, 7:14, 7:16,         non [1] - 30:23                                        58:18
                                                                                   officers [1] - 8:25
   messages [37] -            12:11, 13:18, 15:10,      non-VIP [1] - 30:23                                   P.M [2] - 1:18, 4:1
                                                                                   Offices [3] - 2:15,
    16:22, 16:25, 17:4,       15:14, 19:17, 21:16,      Nos [2] - 3:9, 38:8         34:3, 34:6                p.m [3] - 24:14, 40:22,
    17:7, 17:9, 17:12,        21:20, 21:22, 22:2,                                                              40:23
                                                        nothing [5] - 5:2, 8:12,   Official [1] - 1:24
    17:15, 17:18, 17:19,      22:5, 22:8, 22:11,         13:7, 43:16, 64:13                                   package [16] - 6:7,
                                                                                   official [1] - 72:11
    17:21, 18:16, 20:18,      22:15, 22:21, 22:25,                                                             6:12, 6:15, 6:20,
                                                        notified [3] - 36:24,      offshore [1] - 8:3
    21:8, 21:13, 21:17,       23:3, 23:7, 23:10,                                                               6:23, 32:18, 32:21,
                                                         36:25, 39:5               Olga [4] - 16:12,
    22:5, 22:22, 26:10,       23:21, 23:22, 24:18,                                                             32:25, 33:1, 33:25,
                                                        November [10] -             69:18, 70:2, 70:3
    26:23, 27:19, 27:20,      25:6, 25:10, 27:1,                                                               34:10, 37:22, 38:13,
                                                         10:12, 31:22, 33:21,      ON [2] - 2:3, 2:14
    27:21, 28:10, 29:24,      27:10, 27:16, 27:17,                                                             48:25, 54:1, 54:6
                                                         37:5, 39:2, 39:9,         once [4] - 9:12, 47:20,
    30:3, 30:7, 42:4,         28:3, 28:9, 28:13,                                                              packages [1] - 49:13
                                                         43:8, 44:5, 63:1           49:8, 63:17
    53:16, 58:16, 58:17,      28:21, 28:24, 29:4,                                                             page [24] - 20:20,
                                                        number [5] - 12:25,        one [33] - 5:25, 8:19,
    58:18, 58:21, 58:22,      29:10, 29:14, 29:16,                                                             28:18, 31:12, 31:13,
                                                         25:12, 26:7, 31:9          9:16, 11:12, 11:14,
    58:23, 64:19, 65:1        31:13, 31:15, 31:17,                                                             34:21, 34:22, 34:23,
                                                        numbers [7] - 23:1,         11:15, 19:14, 25:5,
   Messenger [2] -            32:15, 32:16, 35:13,                                                             36:11, 37:12, 40:12,
                                                         24:3, 24:4, 24:6,          25:7, 33:1, 35:23,
    16:15, 16:16              38:2, 38:5, 38:7,                                                                41:25, 42:2, 43:7,
                                                         25:11, 26:6, 37:13         36:1, 37:12, 38:1,
   met [9] - 9:12, 9:18,      38:9, 42:24, 43:1,                                                               51:4, 52:19, 52:21,
                                                        numerous [1] - 9:20         38:21, 40:2, 41:2,
    14:19, 14:20, 26:4,       43:4, 43:5, 47:24,                                                               57:10, 57:11, 60:16,
                                                        NW [1] - 2:5                41:5, 41:17, 41:18,
    63:13, 63:18, 68:5,       48:13, 48:14, 49:10,                                                             62:20, 62:23, 63:6
                                                                                    45:3, 49:2, 56:21,
    69:3                      58:4, 58:5, 58:25,                                                              PAGE [1] - 3:2
   microphone [1] -           59:4, 59:7, 60:20,
                                                                   O                58:4, 58:15, 60:13,
                                                                                                              pages [3] - 27:11,
                                                                                    62:25, 63:14, 63:18,
    42:18                     60:24, 62:5, 62:10,                                                              28:9, 56:23
                                                                                    68:21, 70:4, 70:9
   microphones [1] -          62:17, 62:19, 66:6,       object [2] - 62:6, 66:9                               paid [12] - 6:9, 6:14,
                                                                                   ONE [2] - 1:16, 4:3
    42:21                     66:8, 66:14, 66:23,       objection [10] - 21:22,                                6:24, 7:6, 8:20, 10:2,
                                                                                   one-page [1] - 37:12
   might [6] - 14:22,         66:24, 67:16, 70:7,        23:10, 27:3, 29:3,                                    10:10, 31:6, 38:10,
                                                                                   ones [1] - 39:24
    19:9, 19:11, 30:12,       71:1, 71:9, 71:10          29:4, 38:4, 38:5,                                     38:12, 49:24, 63:20
                                                                                   ongoing [1] - 5:15
    41:5, 60:7               mysterious [1] - 10:24      62:5, 62:15, 66:12                                   Palmov [1] - 35:25
                                                                                   OPENING [4] - 3:3,
   mindful [1] - 42:21                                  obligations [1] - 10:1                                pandemic [1] - 5:15
                                                                                    3:4, 6:1, 7:15
   mine [4] - 36:4, 60:17,              N               obtaining [1] - 31:4                                  papers [1] - 5:6
                                                                                   opening [3] - 5:12,
    62:22, 67:23                                        obviously [2] - 23:13,                                parade [2] - 32:10,
                                                                                    5:24, 7:11
   mixing [1] - 41:11                                    66:10                                                 43:21
                             name [14] - 9:8, 13:11,                               opposed [1] - 28:19
   mobile [4] - 16:17,                                  occasions [1] - 9:12                                  paragraph [1] - 66:19
                              13:21, 13:22, 15:3,                                  opposite [1] - 47:3
    16:19, 24:24, 26:7                                  occur [2] - 59:14,                                    part [4] - 27:10, 48:25,
                              16:12, 20:25, 25:25,                                 option [1] - 19:13
   moment [5] - 4:21,                                    65:13                                                 61:23, 68:23
                              44:11, 44:13, 50:13,                                 ordered [1] - 49:2
    19:7, 19:14, 19:23,                                 Odyssey [46] - 7:22,                                  partial [1] - 8:2
                              57:12, 61:11, 69:18                                  orders [1] - 36:10
    58:4                                                 8:2, 8:6, 8:8, 8:11,                                 partially [1] - 28:19
                             named [1] - 10:15                                     organized [3] - 23:17,
   money [30] - 6:16, 7:4,                               8:15, 8:17, 8:22,                                    parties [3] - 4:18,
                             names [1] - 63:4                                       38:25, 50:14
    7:7, 11:25, 12:1,                                    9:14, 10:1, 10:9,                                     22:16, 48:9
                             native [2] - 27:7, 28:7                               organizes [1] - 30:20
    37:18, 38:20, 49:20,                                 10:11, 10:21, 10:23,                                 party [3] - 9:25, 47:8,
                             near [1] - 45:1                                       organizing [1] - 50:11
    50:16, 52:1, 52:18,                                  11:3, 11:21, 34:15,                                   52:4
                             need [11] - 4:23, 13:2,                               original [5] - 27:11,
    52:24, 53:3, 54:3,                                   36:12, 36:21, 37:6,                                  pass [1] - 46:2
                              18:25, 19:11, 20:15,                                  28:10, 28:11, 28:14,
    54:8, 54:11, 54:13,                                  37:8, 37:21, 54:8,                                   passes [1] - 59:22
                              23:13, 27:14, 42:20,                                  29:17
    54:15, 55:11, 57:23,                                 54:11, 55:18, 55:24,                                 passports [1] - 33:11
                              66:22, 70:24, 71:7                                   otherwise [2] - 5:6,
    58:10, 58:13, 65:13,                                 56:1, 56:10, 56:16,                                  PAVEL [3] - 1:8, 3:4,
                             needed [3] - 9:19,                                     5:21
    65:17, 65:19, 65:20,                                 56:24, 57:5, 57:8,                                    13:15
                              10:20, 36:19                                         outside [1] - 17:18
    65:21, 65:24, 65:25,                                 58:6, 58:10, 60:16,                                  Pavel [7] - 4:5, 6:5,
                             needing [1] - 31:19                                   overruled [1] - 66:12
    67:6                                                 61:1, 61:3, 63:20,                                    12:11, 25:21, 56:24,
                             negotiate [1] - 52:22       63:21, 64:6, 64:14,       owe [6] - 57:23, 58:1,
   moneys [2] - 58:1,                                                                                          69:11, 69:12
                             never [7] - 10:2, 11:19,    66:4, 67:5, 67:17,         58:6, 58:9, 58:10,
    58:9                                                                                                      PAVLO [3] - 3:4,
                              11:22, 11:24, 34:4,        67:25, 69:25               58:13
   monitor [1] - 42:20                                                                                         13:12, 13:15
                              68:16, 70:1               Odyssey's [1] - 7:24       owed [3] - 7:18, 7:20,
   month [1] - 62:25                                                                                          Pavlo [3] - 13:12,
                                                                                    10:23
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 79 of 81 Page ID #:527

                                                                                                                                        7

    13:24, 66:4              played [1] - 12:6           43:14, 43:17, 43:20,      27:19, 29:15, 34:2,       remove [1] - 5:20
   pay [14] - 6:6, 10:8,     point [5] - 15:1, 29:20,    43:23, 44:1, 44:4,        37:1, 38:8, 38:20,        render [1] - 68:12
    10:21, 11:20, 34:14,      45:17, 46:21, 47:1         44:7, 44:9, 44:20,        39:4, 40:5, 62:21,        reporter [1] - 42:22
    34:15, 35:5, 36:10,      portion [1] - 21:3          49:21, 51:15, 51:22,      62:22, 63:13              REPORTER [1] -
    36:20, 64:5, 64:7,       position [1] - 64:20        52:10, 53:5, 53:8,       receiving [4] - 37:5,        35:11
    64:16, 65:13, 65:18      positions [1] - 30:6        53:12, 53:16, 53:20,      39:14, 49:4, 49:12        Reporter [2] - 1:24,
   paying [2] - 7:6, 10:23   possibly [4] - 32:10,       69:17                    recent [1] - 59:24           72:11
   payment [18] - 8:2,        55:3, 63:17, 70:11        provided [10] - 5:9,      reception [2] - 32:9,      Reporter's [1] - 1:16
    8:16, 10:24, 32:22,      post [1] - 45:20            6:10, 6:16, 18:11,        43:15                     represent [1] - 34:8
    33:13, 33:16, 33:19,     posts [1] - 21:12           20:18, 23:11, 28:13,     recess [5] - 48:1, 48:5,   representations [1] -
    33:24, 34:9, 36:9,       PR [8] - 10:20, 11:7,       39:8, 48:21, 69:13        70:25, 71:5, 71:12          6:19
    36:23, 37:3, 37:21,       51:18, 51:19, 51:20,      providing [6] - 18:3,     Recess [1] - 48:6          represents [1] - 64:21
    37:24, 53:12, 54:1,       51:23, 54:13, 54:15        18:6, 18:14, 18:17,      recognize [5] - 20:15,     requested [2] - 38:15,
    54:5, 67:4               practice [1] - 5:14         52:13, 59:9               20:25, 34:24, 35:2,         65:18
   payments [3] - 36:7,      preemptive [2] -           publish [1] - 60:23        37:13                     requires [1] - 5:16
    50:20, 53:9               52:23, 53:1               purchased [4] - 38:14,    record [4] - 4:8, 12:22,   reserve [2] - 7:11,
   pays [1] - 63:3           prepare [1] - 57:7          39:10, 49:1, 53:18        29:12, 60:17                8:25
   peace [1] - 8:25          prepared [2] - 11:7,       purpose [1] - 70:16       recorded [1] - 72:3        reside [1] - 13:25
   people [8] - 44:14,        64:23                     purposes [2] - 23:12,     rectify [1] - 52:1         resolve [1] - 55:12
    45:20, 47:8, 50:11,      present [3] - 14:4,         23:17                    red [4] - 30:21, 30:25,    resolved [1] - 27:4
    50:13, 52:11, 64:10,      48:9, 68:7                put [4] - 20:7, 42:16,     42:10, 42:13              respect [2] - 5:5,
    70:23                    presented [1] - 9:9         66:3, 67:24              reduction [1] - 72:6         28:23
   perfect [1] - 20:10       presently [1] - 13:25                                refer [5] - 24:2, 36:16,   respond [3] - 30:7,
   performed [4] - 7:19,     President [1] - 10:16                 Q               42:4, 42:9, 51:4            30:10, 50:1
    7:25, 10:3, 64:13        presidential [5] - 6:7,                              reference [2] - 51:9,      responding [1] - 27:3
   period [1] - 69:2          6:8, 21:8, 29:24,                                    51:18                     response [1] - 30:19
                                                        questioning [1] - 62:7
   person [3] - 9:12,         44:2                                                referenced [2] - 21:17,    responsibility [1] -
                                                        questions [7] - 5:7,
    33:1, 63:14              PRESIDING [1] - 1:4                                   53:21                       60:5
                                                         23:20, 25:7, 27:13,
   personal [1] - 60:8       pretty [1] - 9:5                                     referred [1] - 33:14       responsible [1] - 9:25
                                                         42:18, 58:15, 58:25
   personally [3] - 55:13,   price [3] - 6:23, 31:19,                             referring [11] - 31:18,    restate [1] - 18:8
                                                        quickly [1] - 32:23
    68:16, 68:19              32:24                                                39:10, 40:14, 43:6,       resume [1] - 71:5
                                                        quote [1] - 69:11
   pertinent [2] - 49:22,    principals [1] - 7:24                                 50:5, 50:6, 51:10,        resurfaced [1] - 10:13
    52:12                    private [3] - 10:19,                                  51:12, 51:20, 52:20,      retain [3] - 15:19,
   phone [10] - 16:20,        11:16, 32:8
                                                                   R               52:25                       15:22, 15:25
    21:5, 22:17, 24:25,      problem [2] - 41:15                                  reflect [1] - 69:4         return [7] - 6:16, 50:2,
    25:3, 25:16, 26:6,       proceed [1] - 4:18         race [1] - 21:10          reflects [1] - 67:19         50:16, 51:2, 52:17,
    26:7, 46:24              proceedings [1] - 72:3     raining [1] - 46:7        refresh [1] - 41:15          65:23, 66:1
   phonetically [5] -        Proceedings [2] -          raise [1] - 13:4          refund [12] - 6:13, 7:4,   returned [1] - 46:12
    35:25, 37:15, 69:19,      1:16, 71:15               raised [2] - 14:17,        7:7, 49:23, 53:3,         returning [1] - 10:11
    70:2                     produced [1] - 29:5         29:3                      54:2, 54:8, 54:11,        review [3] - 23:13,
   physical [1] - 19:15      program [8] - 7:17,        reaction [1] - 41:21       54:13, 54:15, 54:17,        23:18, 63:3
   pick [2] - 45:11, 46:24    10:17, 10:19, 11:5,       read [4] - 20:14,          65:17                     rights [2] - 8:13, 11:2
   picking [2] - 46:24        11:11, 11:13, 11:20,       62:21, 62:22, 62:23      refused [1] - 7:7          rise [1] - 48:4
   pictures [2] - 45:4,       64:6                      ready [4] - 4:18, 5:11,   regarding [6] - 6:18,      ROCHA [1] - 1:4
    47:13                    project [3] - 11:2,         12:20, 12:22              9:13, 53:12, 63:24,       role [1] - 12:6
   place [1] - 47:2           36:17, 63:10              real [5] - 22:3, 61:18,    66:15, 69:25              Rome [6] - 9:13,
   placed [1] - 30:5         promised [7] - 6:11,        61:19, 61:22, 62:1       regardless [1] - 5:17        15:17, 70:4, 70:10,
   plaintiff [8] - 1:10,      6:12, 7:1, 39:22,         realize [1] - 22:8        regulations [1] - 72:7       70:14, 70:17
    4:11, 5:12, 6:5, 8:7,     68:11                     really [2] - 44:10,       reimbursed [1] - 55:8      room [2] - 14:6, 32:8
    8:19, 12:10, 12:11       promises [2] - 50:23,       64:24                    rejected [1] - 12:7        rooms [1] - 45:2
   Plaintiff [7] - 18:23,     50:24                     reason [1] - 61:25        related [1] - 53:17        RPR [2] - 1:23, 72:11
    21:21, 34:21, 34:25,     promising [1] - 47:18      receipt [2] - 37:17,      relevance [1] - 62:8       Rule [1] - 29:13
    35:3, 37:11              promote [1] - 15:19         37:20                    relevant [1] - 23:15       ruled [1] - 5:3
   PLAINTIFF [7] - 2:3,      promoting [1] - 15:18      receipts [1] - 50:20      remember [10] -            ruling [1] - 5:5
    3:3, 6:1, 13:9, 13:12,   pronunciation [2] -        receive [10] - 6:15,       30:11, 46:7, 61:24,       runs [1] - 16:20
    15:4, 15:8                29:22, 32:2                6:23, 7:1, 7:5, 7:6,      63:15, 64:4, 65:2,        Russian [7] - 12:23,
   plaintiff's [1] - 8:19    proper [1] - 15:13          40:7, 48:25, 49:2,        65:8, 69:1, 69:7,           13:23, 25:13, 28:2,
   Plaintiff's [1] - 18:20   provide [26] - 6:11,        50:21, 54:22              69:15                       28:7, 28:16, 28:19
   plan [2] - 36:17, 63:11    17:24, 26:4, 33:15,       received [16] - 3:8,      remote [1] - 5:4           RUSSIAN [1] - 13:16
   plane [2] - 55:7, 70:19    37:2, 38:22, 43:11,        3:9, 5:4, 8:8, 26:2,     remotely [1] - 12:12
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 80 of 81 Page ID #:528

                                                                                                                                             8

                               39:17, 51:2               smaller [1] - 45:2           6:4                        Texas [2] - 44:14,
              S
                              sent [13] - 25:23,         someone [1] - 16:23         Street [1] - 2:5              44:17
                               27:18, 33:17, 35:4,       soon [4] - 12:20,           strike [6] - 17:8,          text [14] - 16:22,
   sales [1] - 61:16           37:4, 45:8, 51:7,          38:21, 38:25, 51:2          32:15, 33:3, 38:11,          16:25, 17:3, 17:7,
   San [1] - 8:25              58:18, 58:23, 64:1,       sorry [10] - 5:2, 15:2,      65:22, 67:10                 20:22, 21:4, 21:13,
   sat [1] - 46:12             64:15, 69:21               15:15, 35:11, 35:18,       subject [1] - 9:20            21:17, 22:5, 22:15,
   satisfy [1] - 28:3         SEPTEMBER [2] -             40:15, 41:14, 49:17,       subpoena [1] - 29:5           22:22, 26:1, 29:23,
   save [2] - 16:22, 16:25     1:17, 4:1                  70:5, 70:25                subsequently [1] -            53:15
   saved [2] - 17:3, 25:16    sergeant [1] - 8:25        sort [1] - 42:19             9:14                       texted [1] - 27:25
   saw [3] - 64:3, 67:7,      series [4] - 22:14,        sorted [1] - 37:12          sufficient [2] - 29:11,     texts [1] - 37:13
    67:21                      23:1, 42:4, 64:19         sound [1] - 12:18            52:23                      THE [75] - 2:3, 2:14,
   schedule [3] - 38:15,      service [1] - 69:8         speaking [1] - 9:19         suggested [1] - 49:19         4:15, 4:21, 5:3, 7:10,
    38:23, 40:6               services [8] - 7:19,       special [1] - 62:22         Suite [2] - 2:6, 2:16         7:13, 12:9, 12:16,
   scheduled [2] - 38:19,      7:22, 33:19, 55:11,       specific [4] - 11:19,       sum [1] - 8:3                 12:23, 13:1, 13:9,
    41:9                       57:24, 65:16, 67:18,       39:20, 59:20, 61:25        summer [1] - 14:22            13:12, 13:14, 13:16,
   Schwarzenegger [1] -        68:11                     specifically [2] -          supposed [5] - 11:13,         15:2, 15:4, 15:6,
    9:2                       set [6] - 4:17, 4:22,       21:24, 35:24                15:18, 30:5, 44:24,          15:8, 15:9, 15:12,
   screen [14] - 18:19,        19:16, 24:6, 25:3,        spell [1] - 13:10            52:13                        19:15, 21:15, 21:24,
    18:22, 19:7, 19:10,        61:25                     spelled [6] - 13:21,        supposedly [2] - 39:5,        22:4, 22:7, 22:9,
    20:8, 23:25, 31:10,       setting [1] - 25:2          13:23, 35:25, 69:19,        44:23                        22:12, 22:20, 22:23,
    33:20, 34:21, 37:11,      settings [1] - 5:18         69:20, 70:2                sustained [1] - 62:15         23:1, 23:5, 23:8,
    42:1, 51:3, 56:18,        settle [1] - 52:3          spelled) [1] - 37:15        Sutherland [2] - 2:5,         23:12, 24:16, 25:5,
    68:21                     settlement [2] - 52:23,    spelling [2] - 13:22,        4:10                         25:9, 27:5, 27:15,
   screwed [3] - 41:23,        53:1                       15:6                       sutherland.com [1] -          28:5, 28:12, 28:20,
    42:15, 47:21              seven [1] - 47:7           spent [1] - 12:1             2:8                          28:22, 29:2, 29:8,
   scroll [2] - 20:12,        Sgtreet [1] - 2:10         spring [1] - 14:22          Svitlana [1] - 10:16          29:11, 31:12, 31:14,
    57:10                     Sheriff's [1] - 9:1        stand [2] - 5:20, 12:17     swear [2] - 13:5, 13:9        31:16, 38:4, 38:6,
   seat [1] - 12:14           show [11] - 9:11, 9:17,                                swearing [1] - 44:2           42:16, 42:25, 43:3,
                                                         stands [2] - 48:5,
   seated [1] - 4:14           10:12, 10:18, 11:4,                                                                 47:22, 47:25, 48:2,
                                                          71:14                      swift [3] - 37:15, 37:16
   second [5] - 19:25,         11:21, 12:2, 18:19,                                                                 48:3, 48:7, 49:8,
                                                         staring [1] - 68:24         Switzerland [2] -
    34:22, 36:1, 36:11,        19:9, 26:15, 56:18                                                                  59:2, 59:5, 60:22,
                                                         start [3] - 4:24, 10:23,     65:19, 65:25
    68:21                     showed [1] - 66:4                                                                    62:8, 62:13, 66:7,
                                                          70:13                      SWORN [2] - 3:4,
   secure [1] - 16:18         showing [6] - 39:1,                                                                  66:12, 66:21, 67:11,
                                                         started [2] - 5:11,          13:15
   see [61] - 5:10, 7:21,      42:1, 51:3, 53:9,                                                                   67:14, 67:15, 70:5,
                                                          50:15                      sworn [2] - 8:24, 13:3
    8:1, 8:10, 8:14, 8:16,     56:22, 60:15                                                                        70:24, 71:2, 71:11
                                                         state [2] - 4:7, 13:10      system [1] - 19:12
    8:19, 10:2, 11:18,        shown [1] - 18:22                                                                  thereafter [1] - 38:21
                                                         STATEMENT [2] - 3:4,
    18:23, 19:2, 19:4,        shows [1] - 34:22                                                                  thinking [1] - 43:2
    19:6, 19:8, 20:3,
                                                          7:15                                   T               three [4] - 31:7, 33:21,
                              side [3] - 23:2, 28:25,    statement [3] - 5:13,
    20:9, 20:11, 20:13,        50:23                                                                               56:23, 60:13
                                                          5:24, 7:11
    20:15, 20:20, 20:21,      sides [1] - 4:18                                       talks [1] - 63:10           THROUGH [1] - 13:16
                                                         statements [1] - 28:6
    20:22, 21:3, 23:1,        sign [3] - 57:14, 57:16,                               tall [1] - 47:7             throughout [1] - 23:2
                                                         STATEMENTS [2] -
    23:25, 24:3, 24:9,         57:18                                                 taxation [2] - 62:2,        ticket [3] - 46:1, 48:25,
                                                          3:3, 6:1
    24:10, 25:14, 25:19,      Signal [2] - 65:4, 69:8                                  62:4                        54:6
                                                         states [3] - 52:22,
    25:20, 26:17, 26:18,      signature [3] - 57:12,                                 TEL [2] - 2:7, 2:17         tickets [37] - 6:12,
                                                          66:10, 72:7
    27:6, 28:5, 31:10,         67:23                                                 Telegram [1] - 65:7           6:21, 7:1, 30:20,
                                                         States [1] - 68:12
    31:16, 33:20, 35:9,       signed [1] - 8:22                                      terms [4] - 21:25,            31:4, 31:19, 32:4,
                                                         STATES [2] - 1:1, 1:24
    39:3, 39:8, 42:3,                                                                  27:5, 31:3, 53:1            33:5, 33:6, 33:9,
                              significant [1] - 21:12    status [1] - 5:17
    43:1, 43:9, 43:10,                                                               testified [6] - 22:19,        34:18, 36:9, 36:14,
                              simple [3] - 6:3, 7:8,     stayed [1] - 9:16
    46:9, 46:17, 46:25,                                                                22:21, 26:14, 39:7,         38:15, 39:14, 39:25,
                               9:5                       staying [2] - 59:9,
    47:10, 51:5, 57:11,                                                                53:25, 65:12                42:12, 43:11, 43:14,
                              simply [3] - 40:4,          64:12
    60:18, 60:21, 61:10,                                                             testify [7] - 6:18, 6:19,     43:17, 43:20, 43:23,
                               47:21, 66:1               stenographically [1] -
    64:2, 66:25, 67:2,                                                                 6:22, 6:25, 7:3, 10:6,      44:1, 44:4, 44:7,
                              single [1] - 22:14          72:3
    68:23, 69:10, 69:14                                                                22:6                        44:9, 44:21, 44:22,
                              situation [1] - 52:1       still [3] - 28:25, 62:20,
   seeking [1] - 6:16                                                                testifying [3] - 12:12,       48:18, 48:21, 48:22,
                              six [4] - 32:11, 39:23,     64:12
   sell [6] - 39:25, 61:17,                                                            14:7, 14:9                  53:9, 53:13, 54:22,
                               47:6, 52:13               stood [2] - 45:19, 46:7
    61:19, 61:22, 62:1,                                                              testimony [7] - 5:4,          56:5, 64:9, 64:17
                              sixteen [1] - 33:21        stopped [2] - 10:9,
    64:10                                                                              11:18, 13:5, 22:17,       Tie [1] - 44:17
                              Sixth [1] - 2:5             10:10
   send [9] - 29:17,                                                                   22:24, 23:5, 59:9         timing [2] - 31:3,
                              skiing [1] - 11:16         stories [1] - 47:7
    29:23, 34:17, 38:13,                                                             TESTIMONY [1] -               31:19
                              slow [2] - 35:12, 35:13    straighten [1] - 50:12
    38:15, 38:16, 38:25,                                                               13:16                     title [1] - 36:12
                              small [1] - 20:23          straightforward [1] -
Case 8:19-cv-01212-FLA-JDE Document 90 Filed 11/02/21 Page 81 of 81 Page ID #:529

                                                                                                                                       9

   today [6] - 4:14, 6:17,     41:8, 47:4, 56:15,        10:14, 10:18, 11:1,     victory [3] - 32:9,        wired [1] - 63:21
     6:18, 19:19, 59:11,       57:7, 57:18, 68:18        11:6, 11:9, 11:19,       43:15, 44:15              wish [1] - 60:23
     71:5                                                11:22, 11:25, 12:1,     video [2] - 6:18, 12:12    withdrawn [1] - 37:18
   tomorrow [2] - 71:6,                  U               12:6, 14:19, 14:21,     view [1] - 47:11           WITNESS [5] - 3:2,
     71:12                                               14:24, 15:16, 15:17,    VIP [19] - 6:7, 10:14,      3:4, 13:15, 31:16,
   took [4] - 9:25, 45:3,                                15:19, 15:22, 15:25,     10:17, 30:20, 30:23,       48:2
                              U.S [5] - 12:7, 21:8,      16:3, 16:6, 16:9,
     47:2, 47:12                                                                  30:24, 32:17, 32:20,      witness [11] - 5:19,
                               59:12, 59:16, 60:1        16:14, 17:1, 17:10,
   top [2] - 39:22, 66:10                                                         32:25, 33:25, 34:10,       5:20, 12:10, 12:15,
                              Ukraine [11] - 8:14,       17:13, 17:15, 17:21,
   touch [1] - 45:15                                                              34:18, 36:13, 37:22,       12:17, 23:4, 23:19,
                               9:8, 9:21, 10:15,         21:7, 25:18, 26:1,
   touched [1] - 10:13                                                            48:25, 52:13, 54:1,        42:17, 48:10, 60:23,
                               14:1, 14:11, 14:16,       26:2, 26:4, 26:11,
   towards [1] - 59:15                                                            54:6                       67:12
                               24:22, 25:4, 61:23,       26:12, 26:24, 27:19,
   transcript [3] - 27:6,                                                        Virgin [2] - 61:19, 62:1   won [2] - 29:24, 30:4
                               62:1                      28:1, 29:21, 29:22,
     72:3, 72:5                                                                  visa [3] - 12:7, 59:16,    Wood [7] - 11:6,
                              Ukrainian [4] - 9:18,      29:23, 30:10, 30:13,
   Transcript [1] - 1:16                                                          59:19                      11:10, 51:19, 51:20,
                               13:23, 15:13, 25:14       30:19, 30:22, 31:3,
   transcription [1] -                                                           Vishmid [1] - 12:24         51:23, 54:13, 54:15
                              ultimately [2] - 7:7,      31:24, 31:25, 32:3,
     28:6                                                                        visiting [1] - 60:11       word [1] - 15:13
                               10:9                      32:13, 32:17, 32:20,
   transfer [3] - 10:22,                                                         Vitaliy [1] - 10:15        words [5] - 25:13,
                              umm [1] - 40:15            32:24, 33:4, 33:9,
     29:9, 29:10                                                                 vS [1] - 1:11               25:15, 37:13, 60:10,
                              under [7] - 7:19,          33:12, 33:23, 34:11,
   translated [1] - 28:16                                                                                    66:10
                               29:13, 36:16, 46:7,       34:17, 35:5, 36:13,
   translation [8] - 23:11,
                               63:7, 63:24, 67:6         36:20, 36:25, 38:13,
                                                                                            W               worker [1] - 36:4
     26:18, 27:12, 28:7,                                                                                    workers [2] - 36:24,
                              underneath [1] -           38:22, 39:4, 39:17,
     28:13, 28:17, 46:20                                                                                     37:2
                               69:10                     39:25, 40:8, 40:18,     wait [2] - 38:24, 68:21
   translations [1] - 23:9                                                                                  world [1] - 10:20
                              understood [2] -           42:6, 42:9, 42:12,      waited [2] - 45:1, 46:8
   translator [1] - 19:8                                                                                    write [3] - 22:6, 27:19,
                               39:12, 47:21              43:11, 43:14, 43:17,    walking [3] - 46:5,
   travel [5] - 55:1, 55:8,                                                                                  27:21
                              unfortunately [2] -        43:20, 43:23, 44:1,      47:3, 47:4
     59:12, 59:16, 60:2                                                                                     written [3] - 8:14,
                               5:16, 14:25               44:7, 44:20, 45:13,     Washington [9] - 2:6,
   traveled [1] - 54:24                                                                                      64:21, 68:17
                              unhappy [1] - 47:12        46:21, 49:1, 49:7,       9:14, 40:9, 41:4,
   traveling [2] - 50:25,
                              UNISON [1] - 4:20          49:14, 49:19, 49:23,     42:7, 44:11, 54:24,
     51:1
                              United [1] - 68:12         50:1, 50:6, 50:7,        55:1, 55:9
                                                                                                                       Y
   trial [9] - 4:17, 4:24,
                              UNITED [2] - 1:1, 1:24     50:8, 50:9, 50:22,      watched [2] - 46:13,
     8:23, 48:1, 48:8,
                              united [1] - 72:7          51:7, 51:10, 51:12,      46:14                     year [2] - 38:18, 59:12
     59:20, 59:21, 67:8,
                              unreachable [1] -          51:15, 51:19, 51:22,    watching [1] - 46:20       years [1] - 59:22
     67:12
                               47:20                     51:25, 52:9, 52:22,     wear [2] - 5:17, 5:22      yellow [2] - 20:5, 20:6
   TRIAL [2] - 1:16, 4:3
                              unrelated [1] - 7:23       52:25, 53:3, 53:5,      weather [1] - 46:5         yesterday [1] - 5:6
   tried [1] - 9:22
                              untranslated [1] -         53:8, 53:16, 53:20,     week [2] - 11:6, 38:24     yourself [2] - 30:17,
   true [1] - 72:2
                               27:8                      54:2, 54:17, 55:11,     weeks [1] - 60:14           50:6
   Trump [7] - 21:10,                                    55:15, 55:21, 56:6,
                              up [13] - 4:22, 31:8,                              welcome [2] - 4:16,        YURI [1] - 1:12
     29:24, 30:4, 40:2,                                  56:13, 57:23, 58:2,
                               34:20, 37:10, 41:11,                               60:23                     Yuri [21] - 4:6, 4:13,
     44:16, 44:23, 45:5                                  58:13, 58:19, 58:23,
                               45:11, 46:24, 47:6,                               West [1] - 2:16             6:6, 10:17, 14:19,
   Trump's [2] - 10:16,                                  60:5, 61:8, 63:14,
                               59:9, 60:18, 61:25,                               WhatsApp [20] -             25:18, 35:4, 36:25,
     44:15                                               63:23, 64:7, 64:15,
                               68:21                                              16:15, 16:16, 16:22,       45:8, 61:8, 63:13,
   trust [1] - 43:3                                      64:20, 64:22, 65:1,
                              updating [1] - 21:9                                 17:3, 17:9, 17:12,         63:23, 64:7, 65:17,
   truth [4] - 13:7, 13:9                                65:3, 65:6, 65:9,
                              upset [1] - 47:12                                   20:18, 21:5, 24:22,        68:5, 68:8, 69:13,
   try [5] - 39:25, 46:21,                               65:13, 65:23, 66:16,
                              US [1] - 2:5                                        24:24, 26:5, 26:8,         69:21, 70:2, 70:21,
     49:20, 52:1, 52:3                                   68:5, 68:10, 68:11,      26:23, 28:1, 29:20,        70:22
   trying [3] - 7:18,                                    68:17, 69:1, 69:10,
     22:24, 62:10                        V               69:16, 70:4, 70:9,
                                                                                  64:19, 64:21, 64:25,      Yuri@Vanetik.com [1]
                                                                                  69:6, 69:9                 - 35:6
   TUESDAY [2] - 1:17,                                   70:17, 70:21            wheelchair [1] - 9:23
     4:1                      V-I-S-H-M-I-D [1] -       Vanetik's [5] - 9:20,
   turn [1] - 43:2             12:24                     28:7, 34:8, 35:7,
                                                                                 wheelchair-bound [1]                   Z
                                                                                  - 9:23
   turned [1] - 45:21         vaccinated [1] - 5:21      41:21                   whole [3] - 13:7,
   TV [2] - 46:18, 46:20      vaccination [1] - 5:17    various [2] - 11:14,                                zero [4] - 14:10
                                                                                  46:13, 46:14
   twice [1] - 63:17          value [2] - 7:6, 52:23     32:7                                               zone [4] - 24:17,
                                                                                 window [1] - 47:9
   two [11] - 9:12, 22:16,    VANETIK [1] - 1:12        vehicle [1] - 47:2                                   24:19, 25:2
                                                                                 windows [1] - 19:6
     33:6, 33:8, 34:21,       Vanetik [170] - 4:6,      verbally [1] - 60:6      winning [1] - 21:10
     35:9, 35:15, 38:21,       4:13, 6:6, 6:9, 6:10,    version [3] - 20:4,      wire [9] - 8:5, 8:8,
     58:15, 70:11, 70:12       6:11, 7:4, 7:7, 7:10,     30:24, 31:14             8:16, 33:15, 33:24,
   two-page [1] - 34:21        7:18, 8:6, 8:24, 9:1,    versus [1] - 4:6          34:9, 34:13, 37:2,
   type [11] - 20:23, 32:4,    9:6, 9:11, 9:18, 9:24,   via [2] - 16:15, 29:19    65:24
     32:10, 33:19, 36:5,       10:4, 10:6, 10:13,
